UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF PENNSYLVANIA

COMMONWEALTH OF PENNSYLVANIA, by
Attorney General KATHLEEN G. KANE,

Plaintiffs,
v.

THINK FINANCE, INC., TC LOAN SERVICE,
LLC, ELEVATE CREDIT, INC., FINANCIAL U,
LLC and KENNETH E. REES,WILLIAM
WEINSTEIN, WEINSTEIN, PINSON AND
RILEY, PS and CERASTES, LLC, NATIONAL
CREDIT ADJUSTERS, LLC, SELLING
SOURCE, LLC and PARTNERWEEKLY, LLC,
d/b/a MONEYMUTUAL.COM, and other JOHN
DOE person or entities,

Defendants.

 

 

Civil Action

No.

DECLARATION ()F IRA N. RICHARDS IN
SUPPORT OF DEFENDANTS’ N()TICE OF REMOVAL

I, Ira N. Richards, hereby declare:

l. I am an attorney licensed to practice law in the State of Pennsylvania and am

admitted to practice before this Court. l am a partner With the law firm of Schnader Harrison Segal

& Lewis LLP, counsel of record for defendants Think Finance, Inc., TC Loan Service, LLC, and

Financial U, LLC. I submit this declaration in support of Think Finance, lnc., TC Loan Service,

LLC, and Financial U, LLC’s Notice of Removal, filed concurrently With this declaration. I make

this declaration based on personal knowledge, except Where otherwise indicated If called as a

Witness, l Would testify to the facts listed beloW.

sf-3486602

2. Attached hereto as Exhibit A is a true and correct copy of a Webpage, as of December
ll, 2014, from the Federal Deposit lnsurance Corporation’s (FDIC) Website entitled “FDIC:
Conflrmation & Report Selection,” available at https://WWW2.fdic.gov/idasp/main.asp (change
“Institution Status” to “All” and then search for “First Bank of Delaware”).

3. Attached hereto as Exhibit B is a true and correct copy of the Order to Cease and
Desist, Order for Restitution, and Order to Pay from In the Matter ofFl'rst Bank of Delaware,
Wilmington, Delaware, FDIC-O7-256b and FDIC-07-257k.

4. Attached hereto as Exhibit C is a true and correct copy of Chapter XIV of a pdf
document from the FDIC entitled “Credz't Cara’Actz'vz'tl`es Manual,” as of December ll, 2014, and
available at https://WWW.fdic.gov/regulations/examinations/credit_card/pdf*version/chl4.pdf.

5. Attached hereto as Exhibit D is a true and correct copy of Chapter XIX of a pdf
document from the FDIC entitled “Credz`t Cara’ Actz`vl'ties Manual,” as of December l l, 201 4, and

available at https://WWW.fdic.gov/regulations/examinations/credit_card/pdf_version/ch l 9.pdf.

I declare under penalty of perjury that the foregoing is true and correct and that this

Declaration Was executed in Philadelphia, Pennsylvania, on this 16th day of December, 2014.

\~*»

lIra N. Richards

 

Sf-3486602

EXHIBIT A

 

Key demographic information as of December 4, 2014

 

 

First Bank of De|aware

1000 Rocky Run Parkway
Wr|mington,DE 19803

 

 

FD|C Certificate #: 34929 Date Established: 6/1/1999
Bank Charter C|ass: Federal Reserve Non~member Date of Deposit |nsurance: 6/1/1999
Primary Federal Regu|ator: Federal Deposit insurance CorQoration
Prima[y lnternet Web Address: ,Web site not available

This is an inactive institution.
lnactive as of: November 16, 2012
C|osing history: This institution was involved in a Voluntary Liquidation and C|osing.
Acquiring institution: This action did not result in a new institution.

|nformation Gateway;

ID Report Selections: Report Date:

 

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September 30, 2012 v

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69 Current List of Offices not available

631 Comgare to Peer Group_js)

§§ FF|EC Call/TFR Report 9/30/2012 Latest Available
§§ FF|EC Uniform Bank Performance Report {UBPR)
€_'b FD|C/OTS Summa[y of Deposiis

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63 Bank Ho|ding Company Ownership and Affiiiates not available
§§ Regional Economic Conditions lFD|C RECON)

62 Organization Hierarchy from the Federal Reserve System

611 Mii.ug§

~@ Consumer Assistance from Prima[y Federal Regulator

Press §§ for description ll

Website Po|icies l Privacy Po|icy | P|ain Writing Acl of 2010 l USA.gov | FD|C Ofnce of lnspectorGenera|

Freedom of |nformation Acl (FO|A) Service Cenler | FD|C Open Go\'ernmenl Webpage l No FEAR Act Data

EXHIBIT B

FEDERAL DEPOSIT INSURANCE CORPORATION

WASHINGTON, D.C.

 

In the Matter of
ORDER TO CEASE AND DESIST,
ORDER FOR RESTITUTION,
FIRST BANK OF DELAWARE AND ORDER TO PAY

WILMINGTON, DELAWARE
(INSURED STATE NONMEMBER BANK) FDIC-O7-256b

FDlC-O7-257k

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FIRST BANK OF DELAWARE, Wilmington, Delaware (Bank), having
received a NOTICE OF CHARGES FOR AN ORDER TO CEASE AND DESIST
AND FOR RESTITUTION; NOTICE OF ASSESSMENT OF CIVIL MONEY
PENALTIES; FINDINGS OF FACT AND CONCLUSIONS OF LAW; ORDER TO
PAY; AND NOTICE OF HEARING issued by the Federal Deposit
Insurance Corporation (FDIC) on June 10, 2008 detailing the
violations of law and/or regulations and unsafe or unsound
banking practices alleged to have been committed by the Bank,
and having been advised of its right to a hearing with respect
to the foregoing under sections 8(b) and 8(i)(2) of the Federal
Deposit Insurance Act (Act), 12 U.S.C. §§ 1818(b) and (i)(2),
and the FDIC Rules of Practice and Procedure, 12 C.F.R. Part
308, and having waived those rights, entered into a STIPULATION

AND CONSENT TO THE ISSUANCE OF AN ORDER TO CEASE AND DESIST,

Page 1 of 41

ORDER FOR RESTITUTION, AND ORDER TO PAY (CONSENT AGREEMENT) With
a representative of the Legal Division of the FDIC, dated
October 3, 2008, whereby, solely for the purpose of this
proceeding and without admitting or denying the alleged
violations of law and/or regulations and unsafe or unsound
banking practices, the Bank consented to the issuance of an
ORDER TO CEASE AND DESIST, ORDER FOR RESTITUTION, AND ORDER TO
PAY (ORDER) by the FDIC.

The FDIC considered the matter and determined that it has
reason to believe that the Bank committed violations of law
and/or regulations and engaged in unsafe or unsound banking
practices, including, but not limited to, violations of section
5 of the Federal Trade Commission Act, 15 U.S.C. § 45(a)(1)
(Section 5) and operating the Bank without effective oversight
and supervision of the Bank's consumer lending programs.

The FDIC, therefore, accepts the CONSENT AGREEMENT and
issues the following:

ORDER TO CEASE AND DESIST

IT IS HEREBY ORDERED, that the Bank, its institution-
affiliated parties, as that term is defined in section 3(u) of
the Act, 12 U.S.C. § 1813(u), and its successors and assigns,

cease and desist from the following violations of law and/or

Page 2 of 41

regulations and from engaging in the following unsafe or unsound
banking practices:

(a) operating in violation of Section 5;

(b) operating the Bank's National Consumer Products
Division (NCP Division) without effective oversight by the
Bank’s board of directors (Board) and supervision by senior
management of the lending programs offered, marketed,
administered, processed, serviced and/or collected by third-
parties pursuant to arrangements or agreements with the Bank
including, but not limited to, those third-party arrangements
and agreements identified in Exhibit “A” of the CONSENT
AGREEMENT (all collectively referred to in this ORDER as “third-
party lending programs”); and any vendor, servicer or third
party providing one or more of these functions or services
material to the Bank's third-party lending programs (all
collectively referred to in this ORDER as “third-party
provider”);

(c) operating the Bank’s NCP Division with an
inadequate system of internal controls, management information
system, and internal audit system with regard to the size of the
NCP Division and the nature, scope and risks of the third-party

lending programs and third-party providers, in contravention of

Page 3 of 41

the Standards for Safety and Soundness contained in Appendix A
tO Part 364, 12 C.F.R. Part 364;

(d) operating the Bank's NCP Division with an
inadequate compliance management system to ensure compliance
with Section 5 and other federal consumer protection laws and
regulations; and

(e) operating the Bank with inadequate capital
planning in relation to the risk considerations and/or factors
prescribed by the Interagency Expanded Guidance for Subprime
Lending Programs (FIL-9-2001, issued January 31, 2001) and the
FDIC's Credit Card Activities Manual, Chapter XIV.

IT IS FURTHER ORDERED that the Bank, its institution-
affiliated parties, and its successors and assigns, take
affirmative action as follows:

I. TERMINATION OF THIRD-PARTY LENDING PROGRAMS AND
RELATIONSHIPS WITH THIRD-PARTY PROVIDERS

Within sixty (60) days of the effective date of this ORDER, the
Bank shall develop and submit to the Regional Director of the
FDIC's New York Regional Office (Regional Director), for her
non-objection in accordance with paragraph XIII.A of this ORDER,
a comprehensive plan, with timelines, for the termination of all

relationships with third-party providers and the termination of

Page 4 of 41

all third-party lending programs or any agreements or
arrangements with third-party providers that exhibit the
characteristics of a “Rent-a-BIN” or “Rent-a-ICA” arrangement,
as referred to in the FDIC’s Credit Card Activities Manual,
except for those third-party lending programs and third-party
providers specifically identified in Exhibit “B” of the Consent
Agreement. The plan shall provide for these terminations within
one hundred and twenty (120) days of the effective date of this
ORDER. Upon termination of each third-party lending program
and/or the relationship with a third-party provider, the Bank
shall provide written notification to the Regional Director
apprising her of the date the third-party lending program or the
relationship with the third-party provider was terminated.

II. NCP DIVISION PLANS

A. Consultant:

1. Within thirty (30) days of the effective date of
this ORDER, the Bank shall retain an independent third-party
consultant (Consultant) acceptable to the Regional Director with
appropriate expertise and qualifications to assist the Bank with
the preparation of a comprehensive strategic plan and an
operating plan for the Bank's NCP Division (NCP Division Plans)
as well as the assessment of management and staff needs within

the NCP Division required by Article 111 and the Capital Plan

Page 5 of 41

required by Article 1V of this ORDER.
2. The Bank shall provide the Regional Director with

a copy of the proposed engagement letter or contract with the
Consultant for her review and non-objection. The contract or
engagement letter, at a minimum, should include:

a. a description of the work to be performed
under the contract or engagement letter;

b. the responsibilities of the Consultant;

c. identification of the professional standards
covering the work to be performed;

d. identification of the specific procedures to
be used when carrying out the work to be performed;

e. the qualifications of the employee(s) who are
to perform the work;

f. the time frame for completion of the work;
and

g. a provision for unrestricted access by the
FDIC to the Consultant’s staff, work papers and other materials
prepared in the course of the Consultant's engagement.

B. Strategic Plan:

Within ninety (90) days of the effective date of this ORDER, the
Bank shall, with the assistance of the Consultant, develop and
submit to the Regional Director, for her non-objection in
accordance with paragraph X111.A of this ORDER, a comprehensive

Page 6 of 41

strategic plan (Strategic Plan)-covering an operating period of
at least three (3) years. The Strategic Plan shall include, at
a minimum:

1. a full and complete description of each and every
consumer loan product (Consumer Product) and/or consumer lending
activity the Bank will offer or in which the Bank will engage,
either within the NCP Division or any other area or division of
the Bank;

2. a full and complete list of each third party the
Bank plans to utilize in connection with any Consumer Product or
consumer lending activity, either within the NCP Division or any
other area or division of the Bank;

3. a full and complete description of the function
or service each third party will provide in connection with any
Consumer Product or consumer lending activity, either within the
NCP Division or any other area or division of the Bank; and

4. the planned volume and growth of each of these
Consumer Products and/or consumer lending activities either
within the NCP Division or any other area or division of the

Bank.

C. Operating Plan:

Page 7 of 41

Within ninety (90) days of the effective date of this ORDER, the
Bank shall, with the assistance of the Consultant, develop and
submit to the Regional Director for her non-objection in
accordance with paragraph XIII.A of this ORDER, specific
operating policies and procedures (Operating Plan) that
appropriately take into account the nature, scope, and risk of
each Consumer Product and each consumer lending activity whether
offered or engaged in within the NCP Division or any other area
or division of the Bank as well as the size of such divisions or
areas of the Bank and address the following areas:

1. 1nternal Control System: The Bank's 1nternal

 

Control System shall, at a minimum, include policies, procedures
and processes that provide for:

a. an organizational structure for the day-to-
day operation and oversight of the Bank's Consumer Products and
consumer lending activities with (i) clear lines of authority
and identification of reporting lines; (ii) clear assignment of
responsibility along the lines of authority for assessing and
monitoring the compliance of each Consumer Product and each
consumer lending activity with all applicable federal consumer
protection laws, including Section 5, and all implementing rules

and regulations, regulatory guidance, and statements of policy

Page 8 of 41

as well as all applicable policies and procedures of the Bank
including, but not limited to, those specific areas of non-
compliance noted in the FDIC’s Report of Examination dated April
25, 2007 (ROE) and/or the FDIC's Compliance Report of
Examination as of April 6, 2006 (Compliance Report); and (iii)
clear assignment of responsibility for reporting to the Board
the results of the assessment and monitoring activity performed
under this subparagraph, including specification of information
and data to be reported to the Board on a periodic, but not less
than quarterly, basis;

b. initial and periodic, but not less than
quarterly, written reports to the Board assessing the strategic,
legal, reputational, transactional, compliance, regulatory,
accounting and credit risk associated with each Consumer Product
and each consumer lending activity; and

c. an adequate number of staff to ensure full
and complete compliance with subparagraphs (a) and (b) above.

2. Management Information System: The Bank's

 

management information system (MIS) shall, at a minimum, include
policies, procedures and processes that provide for:
a. new or enhanced systems to allow the Bank to

appropriately monitor each Consumer Product and each consumer

Page 9 of 41

lending activity for compliance with all applicable federal
consumer protection laws and implementing rules and regulations,
regulatory guidance, and statements of policy as well as all
applicable policies and procedures of the Bank;

b. new or enhanced systems to allow the Bank to
access, collect and analyze such data, documentation or other
information necessary for effective monitoring of each Consumer
Product and each consumer lending activity;

c. new or enhanced systems to allow the Bank to
access, collect, and analyze such data, documentation or other
information necessary to calculate fee rebates due in the event
a loan is prepaid;

d. new or enhanced systems to allow the Bank to
access, collect, and analyze such data, documentation or other
information necessary to determine whether installment loan
products and similar products (ILPs) comply with the guidance
set forth in the FDIC's Supervisory Policy on Predatory Lending
(FIL-6-2007, issued January 22, 2007) including the ability to
determine whether a lending transaction represents a fair
exchange of value for the borrower and whether the pricing of

the loan appropriately reflects the borrower's risk of repayment

Page 10 of 41

and whether it is customary and reasonable under the
circumstances; and

e. an adequate number of staff to ensure full
and complete compliance with subparagraphs (a) through (d)
above.

3. 1nternal Audit System: The Bank's 1nternal Audit

 

System shall, at a minimum, include policies, procedures and
processes that ensure:

a. adequate monitoring of the 1nternal Control
System through a comprehensive internal audit function;

b. an audit staff comprised of a sufficient
number of qualified persons;

c. the independence and objectivity of the
internal auditor, the audit staff, and the audit committee;

d. adequate testing and review of MIS for the
Bank's NCP Division and/or any other area or division of the
Bank offering a Consumer Product or engaging in a consumer
lending activity;

e. adequate testing and review of Consumer
Products and consumer lending activities such that the scope and
testing are adequate to (i) detect substantive deficiencies in

the operation of the Bank's Consumer Products and consumer

Page 11 of 41

lending activities; and (ii) determine the level of compliance
of the Bank's NCP Division and/or any other area or division of
the Bank offering Consumer Products and/or engaging in consumer
lending activities with all applicable federal consumer
protection laws and all implementing rules and regulations,
regulatory guidance, and statements of policy as well as all
applicable policies and procedures of the Bank;

f. adequate documentation of tests and findings
of any corrective actions;

g. verification and review of management
actions to address material weaknesses;

h. tracking of deficiencies and exceptions
noted in audit reports with periodic, but not less than
quarterly, status reports to the Board with each deficiency and
material exception identified, the source of the deficiency or
exception and date noted, responsibility for correction
assigned, and the date corrective action was taken in the
report;

i. review of the effectiveness of the NCP
Division's Internal Audit Systems and/or the Internal Audit

Systems of any other area or division of the Bank offering

Page 12 of 41

Consumer Products or engaging in consumer lending activities by
the Bank's Audit Committee or Board; and

j. an annual audit schedule for the NCP
Division and/or any other area or division of the Bank offering
Consumer Products or engaging in consumer lending activities
approved by the Board with any planned changes to or deviations
from the approved audit schedule, its scope, or content
requiring the prior written approval of the Board or its Audit
Committee appropriately reflected in the minutes of the meeting
wherein the change or deviation was approved.

4. Compliance Management System (CMS): The Bank's

 

CMS shall, at a minimum, include policies, procedures and
processes that ensure that all Consumer Products and consumer
lending activities comply with all applicable federal consumer
protection laws, including Section 5, and all implementing rules
and regulations, regulatory guidance, and statements of policy
and provide for:

a. Bank review, approval (prior to first use
and subsequent re-reviews as may be required by, among other
things, regulatory guidance and changes in laws and/or
regulations), and maintenance of copies of (i) all marketing and

solicitation materials, including direct mail or 1nternet

Page 13 of 41

solicitations, promotional materials, advertising, telemarketing
scripts, (ii) other materials provided to consumers and
accountholders generated in connection with the administration
and servicing of the Consumer Products and consumer lending
activities, including accountholder agreements, privacy
policies, forms of accountholder statement, and (iii) changes or
amendments with respect to the materials described in (i) and
(ii);

b. timely and regular notification to the Bank
by any third-party provider of all regulatory agencies'
inquiries, customer complaint correspondence, and/or legal
action received from any third party with respect to the
Consumer Products and consumer lending activities (other than
routine requests such as to cease and desist collection
contact);

c. (i) Bank review and approval of all
materials related to customer service and collection activities,
including compliance with the guidance set forth in FDIC FIL-52-
2006 (issued June 21, 2006), (ii) monitoring of customer service
and/or collection calls on a regular basis, (iii) Bank review of
service level reports, and (iv) procedures for promptly

addressing and resolving customer complaints regarding the

Page 14 of 41

Consumer Products and consumer lending activities, regardless of
the source;

d. Bank review of periodic, but not less than
quarterly, quality assurance reports, reports on collection
results, collector evaluation results, and a summary of
disciplinary action reports for each call center;

e. Bank review of all third-party lending
program's and third-party providers' credit, fraud, and risk
management materials, including policy manuals and practices, to
determine compliance with all applicable consumer protection
laWS;

f. Bank review and approval of all materials in
connection with any Consumer Products and consumer lending
activities, including arrangements for Consumer Products between
third-party providers and any other vendor or party providing
material services to the third-party provider; and monitoring
periodically, but not less than quarterly, reviews, including
the review of quality assurance reports and on-site audits, of
all such material service providers;

g. periodic, but not less than quarterly,

review by the Bank of all account services materials, including

Page 15 of 41

materials related to customer chargeback and dispute processing,
mail forwarding, returned mail and copy requests;

h. Bank review and regular monitoring of all
third-party providers' materials relating to suspense item
research, general ledger reconcilement and settlement, including
daily settlement reports and preparation of monthly settlement
reports;

i. Bank review of all materials related to the
financial performance of Consumer Products and consumer lending
activities and monthly performance monitoring of assets relating
to the Consumer Products and consumer lending activities as a
whole and by vintage and campaign, including new accounts
established, receivables growth or decline, charge-offs, credit
risk scores (such as Fair 1saac & Co. (FICO) scores), sources of
revenue (annual percentage rates (APRs) and fees), number of
accounts receiving credit line increases and decreases, and APR
increases or reductions;

j. Bank monitoring of the performance of
marketing and solicitation programs for new accounts and
enhancement products, including numbers of accounts offered, the
products in each campaign and response rate, and production and

review of trend analysis;

Page 16 of 41

k. mandatory regular compliance reviews by the
Bank, including all policies and procedures, and internal
compliance audits and on-site visits to service facilities of
all third-party providers;

l. Bank review of all business and strategic
plans relating to agreements with third-party providers;

m. Bank maintenance of records of all approved
consumer materials, complaints and responses, solicitation
materials, administration materials, and service provider
agreements, relating to the Bank's Consumer Products and
consumer lending activities;

n. Bank maintenance of files documenting the
service level standards for those services provided by third-
party providers and their service providers, including due
diligence reports, monitoring and audit results, and financial
materials;

o. Bank scheduling and conducting regular
meetings with its third-party providers, for which written
minutes will be taken and maintained;

p. Bank monitoring of third-party membership

programs, if any;

Page 17 of 41

q. periodic, but not less than quarterly, Bank
monitoring of the use and security of confidential and nonpublic
personal information;

r. an effective training program that includes
regular, specific, comprehensive training in applicable federal
consumer protection laws, including Section 5, and all
implementing rules and regulations, regulatory guidance and
statements of policy, for appropriate Bank personnel; and

s. an appropriate number of compliance
personnel with sufficient experience in, and knowledge of,
Consumer Products and consumer lending activities and consumer
compliance laws and regulations to administer the CMS.

5. Account Management: The Bank's policies,
procedures and systems shall ensure compliance with the guidance
set forth in the Account Management and Loss Allowance Guidance
for Credit Card Lending (FIL-2-2003, issued January 8, 2003),
and, at a minimum, shall include the following:

a. requirements that minimum payments will
preclude negative amortization and will amortize the current
balance over a reasonable period of time, consistent with the
unsecured nature of the underlying debt and the consumer's

documented creditworthiness;

Page 18 of 41

b. establishment of policies and procedures
that provide for reasonable control over and timely repayment of
amounts that exceed established credit limits; and

c. to the extent that the Bank utilizes any
third parties pursuant to contract or otherwise to provide any
services for account management and/or account servicing, the
Bank shall ensure that all such third parties comply with the
requirements of subparagraphs (a) and (b) above.

6. Predatory Lending: The Bank's policies,

 

procedures and systems shall ensure that its 1LPs comply with
the guidance set forth in the FDIC’s Supervisory Policy on
Predatory Lending (FIL-6-2007, issued January 22, 2007).

III. ASSESSMENT OF MANAGEMENT AND STAFF

A. NCP Division Consultant:

 

1. Within thirty (30) days of the effective date of
this ORDER, the Consultant shall analyze and assess the Bank's
management and staffing needs within the NCP Division. The
analysis and assessment shall be summarized in a written report
to the Board (NCP Division Report), with a copy simultaneously
delivered to the Regional Director, At a minimum, the NCP
Division Report shall:

a. identify the type and number of Senior

Page 19 of 41

Executive Officers (as that term is defined in 12 C.F.R. §
303.101(b)) and other officer positions needed to appropriately
manage and supervise the affairs of the NCP Division, detailing
any vacancies and additional needs with appropriate
consideration to the size of the NCP Division and the nature,
scope and risks of (i) each Consumer Product and/or consumer
lending activity; (ii) each third party utilized by the Bank in
connection with any Consumer Product and/or consumer lending
activity; and (iii) the Bank's remaining third-party providers
and make such modifications as are sufficient to retain
personnel with adequate experience to oversee the NCP Division;

b. identify the type and number of staff
positions needed to implement the plans, policies, procedures
and processes required by this ORDER, detailing any vacancies
and additional needs;

c. identify the authorities, responsibilities,
and accountabilities attributable to each position, as well as
the appropriateness of the authorities, responsibilities, and
accountabilities, giving due consideration to the relevant
knowledge, skills, abilities, and experience of the incumbent,
if any, and the existing or proposed compensation; and

d. present a clear and concise description of the

Page 20 of 41

relevant knowledge, skills, abilities, and experience necessary
for each position, including delegations of authority and
performance objectives.

B. NCP Division Management Plan:

 

1. Within sixty (60) days of receipt of the NCP
Division Report, the Bank will develop a written plan of action
(NCP Management Plan) in response to each recommendation
contained in the NCP Division Report and a time frame for
completing each action. A copy of the NCP Management Plan and
any subsequent modification thereto shall be subject to review,
comment and non-objection by the Regional Director to ensure
that the NCP Management Plan and any subsequent modification
comply with the requirements of this ORDER.

2. The NCP Management Plan shall be adopted by the
Board and implemented by the Bank in accordance with paragraph
XIII.A Of this ORDER.

C. Bank Policies and Procedures to Evaluate Performance:

 

Within sixty (60) days of the effective date of this ORDER, the
Board shall establish policies and procedures to periodically
analyze and assess the performance of management and staff in
the performance of their present duties and anticipated duties

(Performance Plan). The Performance Plan shall be submitted to

Page 21 of 41

the Regional Director for her review and comment and/or non-

objection. At a minimum, the Performance Plan shall:

1. establish policies and procedures to evaluate the
current and past performance of management and staff members of
the Bank, indicating whether the individuals are competent and
qualified to perform present and anticipated duties, adhere to
applicable laws and all implementing rules and regulations,
regulatory guidance, statements of policy, the Bank's
established plans, policies, procedures and processes and
operate the Bank in a safe and sound manner;

2. establish policies and procedures to recruit and
retain qualified directors, Senior Executive Officers and
personnel consistent with the Performance Plan's analysis and
assessment of the Bank's management and staffing needs;

3. establish policies and procedures to provide for
any additional training and development needs not specifically
identified and required by this ORDER, as well as policies and
procedures to provide such training and development to the
appropriate personnel; and

4. establish policies and procedures that provide for

periodic, but not less than annual, review and update of the

Page 22 of 41

Performance Plan.

D. Board and Management Changes:

 

While this ORDER is in effect, the Bank shall notify the
Regional Director in writing of any changes in any of its Senior
Executive Officers or Board members. Such notification shall
include a description of the background and experience of the
proposed officer or Board member and must be provided thirty
(30) days prior to the individual(s) assuming the new

position(s).
IV. CAPITAL PLAN

Within ninety (90) days of the effective date of this ORDER, the
Bank shall, with the assistance of the Consultant retained
pursuant to Article 11 of this ORDER, develop and submit a
written capital plan (Capital Plan) to the Regional Director for
her non-objection in accordance with paragraph X111.A of this

ORDER. The Capital Plan shall require, at a minimum:

A. specific plans for the maintenance of capital in an
amount adequate and appropriate for the Bank taking into
consideration its Strategic Plan and consistent with the risk
considerations and/or factors prescribed by the Interagency

Expanded Guidance for Subprime Lending Programs (F1L-9-2001,

Page 23 of 41

issued January 31, 2001) and the FDIC's Credit Card Activities

Manual, Chapter XIV, Credit Card 1ssuing Rent-a-BINs;

B. projections for asset growth and capital levels based
upon a detailed analysis of the Bank's current and projected
assets, liabilities, earnings, fixed assets, and the risks

associated with its off-balance sheet activities including, but

not limited to, any “Rent-a-BIN”, “Rent-a-ICA” or similar
activities;
C. projections of the sources and timing of additional

capital to meet the Bank's current and future needs;

D. the primary source(s) from which the Bank will obtain

capital to meet the Bank's needs;

E. a contingency plan that identifies alternative sources
should the primary source(s) under paragraph (D) above be

unavailable; and

F. a dividend policy that permits the declaration of a
dividend only when the Bank is in compliance with its approved

Capital Plan.

V. REVIEW AND UPDATING OF PLANS

Page 24 of 41

A. The Bank shall review and update the Operating and
Capital Plans required by Articles 11 and IV of this ORDER on a
quarterly basis, or more frequently if specifically required
herein or requested by the Regional Director. Copies of these
reviews and updates shall be submitted to the Regional Director
for her review and non-objection in accordance with paragraph

X111.A immediately following their completion.

B. The Strategic Plan required by Article 11 of this
ORDER shall be revised and submitted to the Regional Director
for her review and non-objection in accordance with paragraph
X111.A of this ORDER forty-five (45) days after the end of each
calendar year for which this ORDER is in effect,

VI. AFFIRM.ATIVE RELIEF

A. Corrective Measures:

 

Within ninety (90) days of the effective date of this ORDER, the
Bank shall take all action necessary to eliminate and/or correct
all violations and/or deficiencies noted in the ROE or the
Compliance Report, including Section 5, and other federal
consumer protection laws and regulations along with all
contraventions of the federal banking agency policies and

guidelines. 1n addition, the Bank shall take all necessary

Page 25 of 41

steps to ensure future compliance with all applicable laws and
regulations, including Section 5, and all other applicable
federal consumer protection laws and all implementing rules and

regulations, regulatory guidance, and statements of policy,
B. Compliance:

Within ninety (90) days of the effective date of this ORDER, the
Bank shall take all action necessary to comply with the guidance
set forth in Unfair or Deceptive Acts or Practices by State-
Chartered Banks (FIL-26-2004, issued March 11, 2004). At a
minimum, the Bank shall not make, directly or indirectly, any
misrepresentation, expressly or by implication, about any
material term of an offer or extension of credit including, but
not limited to, the amount of available credit or the
relationship between an offer or extension of credit and a debt
repayment plan or the repayment of existing debt, in connection
with the advertising, marketing, offering, soliciting,

extending, billing or servicing of credit.
C. Disclosures:

The Bank shall, directly or indirectly, disclose as clearly and
prominently as, and on the same page as, any representation

about credit limits or available credit in any credit card

Page 26 of 41

solicitation:

1. a description of:
a. all initial fees (1nitial Fees), as defined
below;
b. all other fees imposed for the issuance or

availability of a credit card, or imposed based on account
activity or inactivity, other than: (i) any fee imposed for an
extension of credit in the form of cash; (ii) any fee imposed
for a late payment; or (iii) any fee imposed in connection with
an extension of credit in excess of the amount of credit
authorized to be extended with respect to such account; or (iv)
any fee imposed in connection with foreign country transactions

or foreign currency exchange;

c. the amount and timing of all such fees; and

d. all other restrictions imposed for the

issuance or availability of credit;

2. if the aggregate amount of the 1nitial Fees or
other restrictions that affect initial available credit is
material, the amount of credit available upon activation after

application of the 1nitial Fees and other restrictions; provided

Page 27 of 41

that if the solicitation offers a credit limit of “up to” a
certain amount, the amount of available credit after application
of Initial Fees and restrictions shall be expressed as an

example of a typical offer of credit;

3. if the effect of the fees described in
subparagraph 1.b or the restrictions described in subparagraph
1.d on available credit is material, a description of the effect

of such fees or restrictions on available credit.

4. “1nitial Fees” shall mean any annual, activation,
account opening, membership, periodic, or other fee imposed for
the issuance or availability of a credit card at the time the
account is opened; provided that “1nitial Fees” shall not
include: (i) any fee imposed for an extension of credit in the
form of cash; (ii) any fee imposed for a late payment; or (iii)
any fee imposed in connection with an extension of credit in
excess of the amount of credit authorized to be extended with
respect to such account.

VII. ORDER FOR RESTITUTION AND OTHER RELIEF
1'1' IS FURTHERED ORDERED that:

A. The Bank shall establish and maintain an account in the

amount of $700,000 to ensure the availability of restitution

Page 28 of 41

with respect to categories of consumers, specified by the FDIC,
who activated Tribute Little Rock, 1magine Little Rock, Purpose
Advantage, and Embrace credit card accounts.

B. Any application of the account shall be made through a
cash payment to or at the direction of the FDIC for the purpose
of making restitution to consumers.

C. The FDIC may require the account to be applied under the
following circumstances;

1. 1f CompuCredit Corporation, Atlanta, Georgia
(CompuCredit) is required by a judgment, order or other agreement
with the FDIC or the Federal Trade Commission (FTC), including an
order or agreement issued or made pursuant to a settlement
arrangement, to pay restitution (Required Restitution) to any

consumers who activated Tribute Little Rock, 1magine Little
Rock, Purpose Advantage, or Embrace credit card accounts, and

CompuCredit defaults, in whole or in part, on its obligation to
make the Required Restitution, the FD1C may require the account
to be applied to the extent of such default.

2. 1f the FDIC and/or the FTC are unable to obtain a
judgment, order or agreement requiring CompuCredit to pay
restitution to any consumers who activated Tribute Little Rock,

1magine Little Rock, Purpose Advantage, and Embrace credit

cards, because of a reason other than the merits of their claims

Page 29 of 41

and despite making reasonable efforts to do so, the FDIC may
require the account to be applied in full.

III. RESTITUTION PLAN FOR CONTINENTAL FINANCE CA.RD (CFC) PROGRAM
A. The Bank shall prepare a comprehensive restitution
plan (CFC Restitution Plan) for consumers who, during the period
from March 2006 to the effective date of this ORDER, applied in

response to a communication that solicited applications for a
CFC credit card and were approved (CFC Eligible Consumers). The
CFC Restitution Plan shall require that the following fees
charged to the accounts of CFC Eligible Consumers be credited to
the consumer's account, and any resulting credit balance shall
be refunded to the consumer in cash;

1. the $89 participation fee charged to those
consumers who cancelled their accounts during the first two (2)
billing cycles after the account was opened; and

2. for those consumers who accessed the Bank's
website and made their first payment to their CFC credit card
account online, the first $4 online payment fee.

B. The Bank shall hire a consultant, acceptable to the

Regional Director, who may be a certified public accountant (CFC
Consultant), who shall review and verify that the Bank

accurately identified the CFC Eligible Consumers and correctly

Page 30 of 41

credited the accounts of, and made cash refunds, as appropriate,
to CFC Eligible Consumers.

C. The CFC Consultant shall prepare a detailed written
report of the processes and procedures by which the Bank
determined the restitution amounts described above in paragraphs
V111.A.1 and VIII.A.2. The report shall also include the
following: (1) total number of CFC Eligible Consumers, (2)
number of CFC Eligible Consumers who received credits and cash
refunds, (3) total amount of credits made under the CFC
Restitution Plan, and (4) total amount of cash refunds made
under the CFC Restitution Plan.

D. Within one hundred and twenty (120) days of the
effective date of this Order, the Bank shall implement the CFC
Restitution Plan.

E. The report described above in paragraph V111.C. shall
be submitted to the Regional Director for her review and comment
and non-objection in accordance with paragraph XIII.A of this
ORDER within sixty (60) days after the Bank has completed
implementation of the CFC Restitution Plan.

F. The Bank shall retain all records pertaining to the
CFC Restitution Plan including, but not limited to:

documentation of the processes and procedures used to determine

Page 31 of 41

the CFC Eligible Consumers, the names, contact and account
information of the CFC Eligible Consumers, any mailing records,
and documentation that the appropriate credits and cash refunds
were made.

IX. DIRECTORS’ COMPLIANCE COMMITTEE
Within thirty (30) days of the effective date of this ORDER, the
Board shall establish a Directors' Compliance Committee
(Committee) reporting to the Board and responsible for
overseeing the affirmative action required by this ORDER. The
Committee shall be comprised of at least three (3) independent
directors who shall not be employed in any capacity by the Bank
other than as a director. The Committee shall monitor
compliance with this ORDER and within ninety (90) days of the
effective date of this ORDER, and every sixty (60) days
thereafter during the life of this ORDER, shall submit to the
Board for consideration at its next regularly scheduled meeting
a written report detailing the Bank's compliance with this
ORDER, including compliance with the enhanced independent audit
program. The Committee's report shall be incorporated into the
minutes of the corresponding Board meeting. Nothing herein
shall diminish the responsibility of the entire Board to ensure

compliance with the provisions of this ORDER.

Page 32 of 41

X. PROGRESS REPORTS
The Bank shall furnish a written progress report to the Regional
Director ninety (90) days after the effective date of this ORDER
and every ninety (90) days thereafter, detailing the form and
manner of all actions taken to secure compliance with this ORDER
and the results of such actions. Such reports may be
discontinued when the corrections required by this ORDER have
been accomplished and the Regional Director has released the
Bank in writing from making further reports, Nothing in this
Article X shall relieve the Bank from compliance with any other
reporting requirements or provisions of this ORDER. All
progress reports and other written responses to this ORDER shall
be reviewed by the Board and made a part of the minutes of the
corresponding Board meeting.

XI. ORDER TO PAY

IT IS FURTHER ORDERED THAT, by reason of the alleged violations
of law and/or regulations, and after taking into account the
CONSENT AGREEMENT, the appropriateness of the penalty with
respect to the financial resources and good faith of the Bank,
the gravity of the conduct by the Bank, the history of previous
conduct by Bank, and such other matters as justice may require,

pursuant to section 8(i)(2) of the Act, 12 U.S.C. § 1818(i)(2),

Page 33 of 41

a civil money penalty of THREE HUNDRED AND FOUR THOUSAND DOLLARS
($304,000) is assessed against the Bank, The Bank shall pay the
civil money penalty to the Treasury of the United States. The
Bank shall pay such civil money penalty itself, and is
prohibited from seeking or accepting indemnification for such
payment from any third party.

XII. NOTICE TO SHAREHOLDERS
Within sixty (60) days of the effective date of this ORDER, the
Bank shall send to its shareholders or otherwise furnish a
description of this ORDER. The description shall fully describe
the ORDER in all material respects. The description and any
accompanying communication, statement, or notice shall be sent
to the FDIC, Division of Supervision and Consumer Protection,
Accounting and Securities Disclosure Section, 550 17Ulstreet,
N.W., Washington, D.C. 20429 for review at least 20 days prior
to dissemination to shareholders. Any changes requested to be
made by the FDIC shall be made prior to dissemination of the

description, communication, notice or statement.

XIII. MISCELLANEOUS

Page 34 of 41

A. 1. Whenever a provision of this ORDER shall require
the Bank to submit a proposed plan, policy, procedure or system;
or an enhancement, revision or addition to a plan, policy,
procedure, system; or other matter to the Regional Director for
her review, comment and/or non-objection, the Bank shall make
such submission to the Regional Director at 20 Exchange Place,
New York, New York 10005.

2. The Regional Director shall provide comments to
the Bank within thirty (30) days of receipt of the proposed
plan, policy, procedure or system; or enhancement, revision or
addition to the plan, policy, procedure or system; or other
matter submitted for her review, comment and/or non-objection.

3. Within thirty (30) days of receipt of comments
from the Regional Director, the Bank shall make such
modifications as may be necessary to address the Regional
Director’s comments. 1f the Bank fails to make such
modifications, or otherwise fails to address the Regional
Director’s comments within such thirty (30) day period, the Bank
shall provide to the Regional Director a comprehensive written
explanation, developed with its Consultant, of its rationale.
Within thirty (30) days of receipt of the Bank's response, the

Regional Director shall either (i) provide her non-objection to

Page 35 of 41

the revisions proposed by the Bank; or (ii) provide comments as
to her rationale for rejecting the proposed revisions, or such
revisions which remain objectionable, and shall direct the Bank
to implement the plan, policy, procedure, system, revision, or
enhancement as finally approved.

4. The Bank's actions shall be appropriately
recorded in the Board meeting minutes. Thereafter, the Bank and
its directors, officers and employees shall fully implement and
follow the plan, policy, procedure or other matter as adopted
and shall ensure full and complete compliance with these plans,
policies, procedures or other matters both internally and by any
third party utilized by the Bank. 1t shall remain the
responsibility of the Board to fully implement the plans,
policies, procedures or other matters as adopted within the
specified time frames.

5. 1f, after a reasonable period of time for
implementation, the Bank has not complied with subparagraphs 1-4
above, the Regional Director may provide written notice of her
objection(s) to the Bank and require the submission of a plan
(Exit Plan) to discontinue its offering of the specified
Consumer Product(s) or consumer lending activity. Within thirty

(30) days of its receipt of the Regional Director’s written

Page 36 of 41

notice, the Bank shall develop and submit its Exit Plan to the
Regional Director for her review and non-objection. The Exit
Plan shall, at a minimum, provide for the discontinuation of the
specified Consumer Product(s) or consumer lending activity
within sixty (60) days of the Bank's receipt of the Regional
Director’s written notice.

6. The Bank shall not acquire any portfolios of
consumer credit card accounts from any other insured depository
institution or other entity until such time as the Bank has
submitted, and the Regional Director has non-objected to, the
plans, policies and procedures required under paragraphs 1
through IV of this Order,

B. The Bank shall use good faith reasonable efforts to
cooperate with the FDIC in its pursuit of claims related to
Tribute Little Rock, 1magine Little Rock, Purpose Advantage, and
Embrace credit card products, including, upon reasonable prior
notice and at reasonable times and places, in making its
documents and records relating to the claims available to the
FDIC (subject to any privilege or other protection available
under applicable law) without subpoena and, upon reasonable
prior notice and at reasonable times and places, in making its

personnel (including officers, directors and employees)

Page 37 of 41

available for interview and/or testimony by deposition or before
any authorized tribunal without subpoena. The cooperation shall
not require the Bank to waive any applicable privileges. The
FDIC may use the documents and testimony in claims related to
the Tribute Little Rock, 1magine Little Rock, Purpose Advantage,
and Embrace credit card products, including any action brought
by the FTC. Prior to their use in a proceeding, the documents
and testimony will be kept confidential. Their use in a
proceeding will be subject to confidentiality orders issued by
the tribunal in which they will be used. The FDIC agrees to
provide notice to the Bank if any third party other than the FTC
attempts to obtain the documents or testimony.

C. Except for an action to enforce compliance with this
ORDER and except for any claims against the CompuCredit Parties,
as hereinafter defined, the FDIC shall not commence any action
under section 8 of the Act, 12 U.S.C. § 1818, Section 5, or any
other statute or regulation, against the Bank, or any of its
directors, officers, employees, and agents, or any of the Bank's
affiliates, their successors or assigns, or any of their
respective directors, officers, employees, and agents
(collectively, the Bank Parties), arising out of or related to

the Tribute Little Rock, 1magine Little Rock, Purpose Advantage,

Page 38 of 41

and Embrace credit card programs or relating in any manner to
the ROE and/or the Compliance Report and related investigations,
in each case to the effective date of this ORDERt The
CompuCredit Parties shall mean CompuCredit, its officers,
directors, employees, subsidiaries, successors and assigns, and
any party having a contract with CompuCredit or providing
services to or for the benefit of CompuCredit, with the

exception of any of the Bank Parties.

D. 1. Except as limited by the CONSENT AGREEMENT and
paragraph X111.C above, this ORDER shall not bar, estop or
otherwise prevent the FDIC or any other federal or state agency
or department from taking any action against any of the Bank
Parties or any of the Bank's current or former institution-
affiliated parties, or any of their respective directors,
officers, employees, and agents,

2. The FD1C expressly reserves all rights against
the CompuCredit Parties. Nothing in this ORDER or in the CONSENT
AGREEMENT shall require the FDIC or any other party to reduce,
compromise, or otherwise limit any claims against the

CompuCredit Parties.

Page 39 of 41

3. Nothing in this ORDER or in the CONSENT AGREEMENT
shall require the FDIC or any other party to reduce, compromise,
or otherwise limit any claims because of any contractual or
other commitments of the Bank to indemnify, defend, or hold
harmless any of the CompuCredit Parties.

E. Nothing herein shall prevent the FDIC from conducting
on-site reviews and/or examinations of the Bank, its affiliates,
agents, service providers, and any other institution-affiliated
parties of the Bank at any time to monitor compliance with this
ORDER.

F. This ORDER shall be effective on the date of issuance.

G. The provisions of this ORDER shall be binding on the
Bank, its affiliates, their successors and assigns, and any of
their respective directors, officers, employees, and agents, and
any of the Bank's current or former institution-affiliated
parties, and any of their respective directors, officers,
employees, and agents.

H. The provisions of this ORDER shall remain effective and
enforceable except to the extent that, and until such time as,
any provisions of this ORDER shall have been modified, suspended

or terminated in writing by the FDIC.

Page 40 of 41

Pursuant to delegated authority.
Dated at Washington, D.C., this gm day of October,

2008.

 

Christopher J. Spoth

Senior Deputy Director
Division of Supervision and
Consumer Protection

Page 41 of 41

EXHIBIT C

Risk i\/ianagement Examination i\/ianuai for Credit Card Activities Chapter X|V

 

 

 

XIV. CRED|T CARD lSSU|NG RENT-A-B|NS

 

Banks are involved in many business lines that have varying competitive pressures and
requirements for success They are increasingly evaluating each line to determine whether it
makes the most of the bank’s strengths and is consistent with its strategic plans As
management considers these evaluations it may decide to stop activities that are not profitable
or that are too high-risk for its appetite in order to concentrate on activities that may be more
profitablel that it and the bank may be better-suited for, or that are iower-risk. These types of
evaluations have led to the development of many variants of the credit card lending model, one of
which is a Rent-a-Bank identification Number (BlN) arrangement This chapter describes Rent-a-
BlN (RAB) models and structures highlights the risks of issuing RAB arrangements and
discusses risk-mitigating controls that management typically employs Later sections of the
chapter consider topics such as capital and accounting

RENT-A-B|N l\/|ODELS AND STRUCTURES

With a RAB arrangement, a bank allows one or more other entities to conduct credit card
activities with or through one of the bank’s BleB, Which is a number assigned by an Association
to identify the bank for authorization, ciearing, settlement, card issuing, or other processes in
return for allowing the use of its BlNl the bank receives a “rentai” fee from that entity, hence the
term Rent-a-BiN.

There are essentially two types of RAB arrangements a credit card issuing RAB and an
acquiring RAB. Each has a unique set of risks but both require the bank to have strong vendor-
oversight programs Acquiring RABs, which draw their names from the arrangements feature of
acquiring merchant contracts and cardholder transactions are addressed in the i\/ierchant
Processing chapter, and issuing RABs, Which draw their names from the arrangements feature
of issuing credit cards to consumers, are the focus of this chapter

There are several common features among issuing RABs in an issuing RAB arrangement a
bank (as BlN owner) rents its right to offer credit cards that have the applicable Association’s logo
to a third party for a fee. The third party generally solicits prospective credit card customers and
then provides approved applicants with a credit card. The bank is identified as the issuer of the
card while the BlN-renter, or partner, and other sub-contracted participants may not necessarily
be apparent to the cardholder. The bank retains its contract with the Association(s) because the
Associations only allow insured depository institutions to issue credit cards under their brands
While the bank sheds itself of a majority of the day-to-day operational duties associated with
operating the program in most cases it always retains ultimate responsibility for the program
based on its contract with the applicable Association and on it being the issuer of record

issuing RABs also have several aspects that vary from arrangement to arrangement, For
exampie, the receivables are usually held by the BlN-renter (partner) or another party. in a few
cases the bank might hold a small portion of the receivables or even a majority or ali of the
receivables Securitization of the program’s receivables (by whichever party has funded those
receivables) may or may not be present in most cases the partner is unaffiliated with the bank
However, the partner may be an affiliate of the bank or a related interest of an insider of the bank,
requiring an additional layer of review, Furthermore, some banks have arrangements with more
than one partner for different credit card programs/BiNs. Portfoiio services such as collections

 

8 As mentioned in an earlier chapter, an iCA is a number assigned by i\/|asterCard and is similar to a BlN that is issued by
Visa. iCAs and Ble are collectively referred to as Ble in this manual This chapter references arrangements involving
the Associations; but, similar arrangements may be encountered With other networks going fonlvard, particularly now that
Discover and American Express are expanding their bankcard markets

 

i\/iarch 2007 FDiC- Division of Supervision and Consumer Protection 120

 

Credit Card issuing Rent-a-BiNs

 

 

 

customer service, and processing, can be performed by the partner or by other third-parties
(which, againl may or may not be affiliated with the bank). The bank could even perform select
services or processes in most cases the bank is an issuer oniy, but it is plausible that it could be
both issuing and acquiring, which could complicate matters (refer to the i\/ierchant Processing
chapter for information on the acquiring business).

A bank might enter into an issuing RAB to reduce or to limit the level of receivables held on its
balance sheet (thus reducing or limiting on~book credit risk) and/or to reduce or limit the operating
burden on internal resources while still generating income from credit card activities While
issuing RAB arrangements can be effective means of meeting these goals they pose a number
of risks to the bank, and those risks can be substantial Probiems commonly arise when
management is overly focused on apparent returns or cost savings or when it lacks sufficient
knowledge about the risks involved with the card products offered, RAB activitiesl and/or third-
party oversight

A primary concern with RAB arrangements is that the bank may not have sufficient controls over
the partner’s (or the partner's agent's) actions particularly solicitation, underwriting, and
administration of the credit card relationships The quality of services provided by the hundreds
of third-parties in credit card and related industries as We|i as their wherewithal to support the
activities, varies Wideiy. if the partner or its agents fail to abide by applicable laws, guidance, and
regulations, or if the partner experiences financial difficulties the bank could be exposed to
operation and reputation risks that may result in fines or other monetary losses funding or
liquidity risks if the partner or other receivable-holders are not able to provide funding for new
charges that they have committed to fund, and credit risk if the bank must fund the cardholder
charges and retain the receivables on its balance sheet Credit risk, whether from receivables
voluntarily retained or that the bank ls forced to retain, could be substantial if the bank has not
had proper control over the partner’ s underwriting criteria and the partner solicited and accepted
customers with riskier profiles than what the bank Would normally accept

For purposes of this chapterl a simple structure will be used: the bank will be an issuer (and not
an acquirer) and will generally be assumed to be contracting With one partner, and that partner
will hold ali card receivables as weil as perform ali servicing and processing for the portfolio.
However, examiners should keep in mind that a bank may have more than one partner, that the
partner might have relationships with more than one bank, that the bank may or may not retain
the receivables and that servicing may be performed by the partner the bank or another third~
party. Examiners will need to review governing documents for issuing RAB arrangements
(normaiiy for those that are material or new) to ascertain the parties involved, the extent of each
party' s responsibilities and how and to what degree failure of each party to meet its obligations
may impact the bank, whether directly or indirectiy. Examiners should also look for evidence
identifying whether management has properly addressed the risks from each RAB arrangement

RESPONS|B|L|T|ES OF BANK l\/lANAGEl\/|ENT

Management sometimes assumes that it does not have to carefully monitor the card portfolio,
namely when the bank does not hold the receivables However, in an issuing RAB arrangement,
the bank is responsible for the program and its customer relationships regardless of where the
receivables reside Further, the performance of the accounts can substantially impact the risks to
the bank Another misconception is that if a contract is in place between the bank and the
partner, the bank is sufficiently protected Contracts, a necessary component of a successful
RAB operation, may not always be iron-ciad. For exampie, the partner's indemnification
contribution is only as strong as its financial wherewithal Further in some situations the bank
might step in and relieve the partner from some of its responsibilities under the contract thus
tainting the contract As another exampie, even though the contract might call for the partner to
reimburse fines it 1s up to the bank to seek that reimbursement and it might elect not do so,
perhaps to keep the third party viable or to avoid disruptions to the program That 1s not to say
that a partner could not also provide services or financial support beyond contract specifications

 

i\/iarch 2007 FDiC - Division of Supervision and Consumer Protection 121

Risk i\/ianagement Examination i\/ianual for Credit Card Activities Chapter XiV

 

Even though the bank might not be directly involved in soiicitation, underwriting and
administration processes under the issuing RAB arrangement, it is still the legal owner of the card
accounts and relationships As the BlN-iicensee, the bank is responsible to the Association(s) for
transactions processed and/or cards issued with its BiNs, and, thus program oversight Even
though contracts between the bank and the partner might direct the partner to assume these and
other responsibilities regulatory agencies and, most iikely, the Associations regard the bank as
ultimately responsible for the program. Typicaiiy the Associations have nominal direct contact
with the bank’s third parties Rather, the bank is responsible for managing the third-party
relationships ensuring the third party meets established standards and looking to the partner for
reimbursement or other support provided for in the contract between the bank and the partner.
The Association(s) may look to the third party if the bank is unable to meet its obligations

Rigorous and thorough oversight of issuing RAB arrangements is warranted for management to
ensure the risks are appropriately controlled issuing RAB relationships should generally be
subject to risk management consumer protection, and other policies and practices consistent
with those that Would be used if the bank was issuing the cards directiy. The assessment of
controls, safeguards and practices for RAB activities is factored into the i\/ianagement
component rating (and other component ratings as applicabie).

R|SKS

issuing RABs can be profitable ventures but do entail risks which1 if not properly controlledl can
quickly erode profitability and/or cause many other problems some of which could be critical, for
the bank. Because the bank does not usually hold the preponderance of the receivables and
because third parties are typically conducting most of the portfolio services the risks may not
appear as straightforward as they are with a conventional credit card lending model. The
frequency and level of each risk to a RAB bank is influenced by a number of factors including,
but not limited to, the type of card program, the bank’s experience with the program or similar
programs, and the third party’s experience with similar activities Poor planning, oversight and
control by management and inferior performance or service by the partner are usually the culprits
that increase the risks

Due to the risks invoived, RAB arrangements warrant carefully-orchestrated management-
appointed safeguards and controls Examiners should determine whether management even if
only considering establishing an arrangement, is fully aware of the risks involved They should
look for evidence that management has identified and documented the business’s risks as well
as the expertise and controls that will be required to manage those risks A formal risk
assessment may be warranted particularly when proposed RAB activities will be of a substantial
volume or would involve higher-risk characteristics such as subprime lending or new products
Risks with an issuing-RAB arrangement include, but may not be limited tol legal, compliance, and
reputation risks; counterparty risk; funding risk; credit risk; and operational risk.

Legal, Compliance, and Reputation Risks

Legai, compliance (consumer or othen/vise), and reputation risks are prominent in issuing-RAB
arrangements These risks can be particularly substantial when subprime lending or other high-
risk activities are involved While these three risks often go hand-in-hand, they are not
synonymous These types of risks arise because the bank is responsible for the program,
including actions taken (or inaction) by the third-parties involved The bank cannot effectively
detach itself from the credit card activity since the bank’s name remains as the card issuer and
the bank remains contracted with the Associations Thus, errors and violations of law or of
cardholder agreements, by the bank or its contracted parties, could expose the bank to
substantial monetary loss through lawsuits fines or other financial burdens Consumer
compliance risks which can easily translate into safety and soundness risks can be exacerbated

 

lVlarch 2007 FDlC- Division of Supervision and Consumer Protection 122

Credit Card issuing Rent-a-B|Ns

 

when the partner’s (or its agents’) employees interact directly with the bank’s customers For
examplel if marketing of the card program by the bank, the partner, or a third party is determined
to be unfair or deceptivel the bank may be held responsible for any monetary penalties
reimbursements and any other actions (such as shutting down the program) necessary to
promptly address the concerns As a resuit, risks to the bank's earnings and capital could ensue.
The bank’s reputation can also suffer by association With improper or abusive business practices
conducted by the partner or its agents. Third parties’ decisions may affect a bank's ability to
establish new relationships or continue existing relationships which could impact the bank’s
strategic objectives.

in generai, the bank and its credit card programs must remain compliant with laws, regulations
and guidance including, but not limited tol the Account Management and Loss A/lowance
Guidance for Credit Card Lending (Al\/iG)l consumer protection laws, and anti-money laundering
laws The Al\/iG is generally applicable to ali insured institutions that offer credit card programs,
regardless of Whether or not the receivables are held at the bank. Further, banks’ obligations to
comply with the Associations’ standards are not limited by the receivablesl place of residence

The Associations are highly cognizant of their own reputations if the card program demonstrates
increasing or high risk, inadequate controls, or high volumes in relation to the bank’s size and
resources the Associations may require the bank to put up additional capital or collateral for the
card program, regardless of where the receivables reside and regardless of whether or not a
RAB arrangement is involved Abuses of a bank’s Association membership (including of the by-
laws and operating regulations thereof) by a partner or its agents could also cause the bank to
lose its authority to issue cards under the Associations’ brands Such a loss could impact the
bank’s reputation, earnings, and liquidity; could ultimately translate into capital problems for the
bank; and/or could require substantial revisions to the bank’s strategic objectives.

Reguiators may also require augmented capital levels The necessary level of capital is based
on a number of factors as discussed later in this chapter,

Counterparty Risk

Counterparty risk, or default risk, is the risk that the partner will fail to perform on its contractual
obligations lt often ties closely to performance of the card portfolio because the partner’s
earnings and, thus capital maintenance, formation, and support is frequently a product of
income generated by and costs associated with the program. The partner usually retains most of
the program’s income and carries most of the costs When it holds most or all of the receivables

The partner could fail to meet its obligations under the contract(s) governing the RAB
arrangement For example, the partner might fail to fund the receivables pay the rental fee,
comply with established financial covenants and/or portfolio parameters or maintain sufficient
collateral support As a result, the bank could have to fund the receivables potentially increasing
its liquidity, credit, and other risks The bank might not be able to offset its oversight
management or other costs for the program, which could stress the bank’s earnings
performance and, consequently, capital

Funding Risk

Funding risk stems from the bank’s responsibility to ensure that settlement9 requirements are
met. Funding risk, howeverl could be considered in some respects to be a by-product of

 

9 Settlement is the term used to refer to the exchange of the actual funds for the cardholder transactions and associated
fees The issuers normally remit funds through the Associations to the acquirer, and the acquirer pays the individual
merchants Settlement is discussed in the i\/lerchant Processing chapter.

 

 

 

l\/larch 2007 FDiC - Division of Supervision and Consumer Protection 123

Risk Management Examination i\/ianuai for Credit Card Activities Chapter XiV

 

counterparty risk. Usuaiiy the bank settles directly with the processor, whether or not the bank
retains the receivables Even if the partner or other third party is required by the RAB contract to
fund settlement and/or may be able to settle directly With the processor, the bank is ultimately
responsible to the Associations for ensuring settlement is met as it is the BlN-licensee and the
issuer. Consequently, When funds available from the partner, Which are usually influenced
heavily by cardholder payments cannot fully meet settlement requirements the bank is looked
upon to make up the difference

Further, when the partner possesses the receivables it could subsequently be selling those
receivables via securitization. The securitization vehicle must be maintained whether or not the
partner is able to fund or acquire the receivables and sell receivables to the securitization vehicle
Further, poor performance of the securitized portfolio could trigger cash capture or early
amortization in these cases the trust will use incoming cardholder payments as applicable to
fund spread accounts pay off the investor certificates and so forth. Since those funds will not
be available to the partner to fund settlement, the bank could have to furnish funds

Credit Risk

Credit risk remains at the bank for any receivables it retains Credit risk also arises albeit off-
balance sheet or contingent if receivables are held by the partner or another entity. Credit risk
could shift to the bank if the receivables-holder cannot fulfill its financial obligations such as
settlement, and could be substantial if the bank has not properly controlled the partner’s
underwriting criteria and the partner has solicited accounts with risky profiles

Operational Risk

Operationai risk is generally defined as the risk of monetary loss resulting from inadequate or
failed internal processes people and systems or from external events Exampies include fraud,
business disruption, and poor execution of process management and can all have adverse
impacts on the bank and its RAB programs Comprehensive due diligence and contingency
planning, including stand-in arrangements can help limit the level of and impacts from
operational risk.

RISK-l\/llT|GAT|NG CONTROLS

Practices and safeguards that management commonly implements to mitigate risks include, but

are not limited to, instituting policy controls, performing due diligence procedures establishing a

comprehensive contract between the bank and the partner, and developing detailed contingency
plans Without proper safeguards in placel exposure could be substantiai.

Policies

As part of being contractually responsible for and controlling the program, management normally
establishes a thorough review and approval process for policies proposed or used by the partner.
An effective RAB contract sets forth the bank’s expectations regarding the partner’s operating
policies applicable to the program and provides bank management with the stated authority to
periodically review the policies (both prior to and after implementation) to ensure the policies are
consistent with the bank’s standards and risk tolerances Examiners should determine whether
policy reviews are Well-documented and Whether a formal agreement process for program
policies is used.

Examiners’ attention should be directed to situations in which the bank’s internal policies fail to
specify a system for approving partners and an ongoing program to monitor the partner’s
financial condition and operating performance as well as portfolio performance in generall a
comprehensive policy designates the criteria for selecting partners stipulates information that is

 

 

l\/larch 2007 FDiC- Division of Supervision and Consumer Protection 124

Credit Card issuing Rent-a-Ble

 

 

required in the RAB contract and addresses other items such as limits per RAB relationship and
concentration limits

Examiners’ attention should also be directed to cases in which policies (whether the bank’s or the
partner’s) are not consistent with the scale of the activity and the risks it presents Typicaiiy the
bank does not diverge from its normal lending practices when participating in RAB relationships
But, if the bank significantly diverges from its normal lending practices, examiners should assess
how management has ensured that any eased standards still result in an acceptable level of
credit risk and that any elevated risks are appropriately addressed Failure to adequately control
policies used by the partner could result in compliance and legal risks to the bank. Further, it
could cause the partner to take on more risk, including credit risk, than it can controll and that risk
could fall back on the bank if the partner is unable to meet certain financial obligations

Due Di/igence

Risk exposures generally increase when the bank is contracting with a disreputabie or
inexperienced partner. As is the case for any third-party arrangement selecting a competent
qualified and reputable partner is essential to effectively managing the arrangements risks
Examiners should look for evidence that the due diligence process is structured to identify
qualitative and quantitative aspects both financial and operationai, of the partner and to assess
the arrangements consistency with the bank’s strategic goals To be effective due diligence
should occur before conducting business or contracting with the entity, and at appropriate
intervals thereafter, such as when the contract is due for extension or renewal

Facts should corroborate that, before entering into or re-negotiating a RAB agreement
management ensured that the prospective partner had adequate financial capacity, expertise
infrastructure, technologyl and staffing to operate the program soundly. in general, a thorough
due diligence process includes documentation of these items

~ Analysis of credible financial information on the entity as weil as its principals to
verify the entity's viability and capacity to absorb losses

» Research of background information and reputations of the entity and its ownership
This process may include reviewing business reputation, complaints and litigation
(such as by checking references or contacting attorney generals’ offices and Better
Business Bureaus). The length of time the entity has been in business is also
applicable

o Performance of a first-hand on-site evaluation of the entity's business operations
including its premises and relevant records, to ensure it has the proper facilities
equipment personnell and so forth.

~ Review of the entity's management experience in implementing and supporting the
proposed activity as weil as other relevant qualifications

o Evaiuation of the entity's business resumption, continuity, recovery, and contingency
plans '

» Assessment of the entity's reliance on and success at dealing with sub-contractors
and resolution of which sub-contractors management will conduct due diligence of.
Determination of whether appropriate insurance coverage is in place
Assessment of Whether the entity's culture, values business styie, and strategies fit
with the bank’s culture, values business styie, and strategies

ln-House Expen‘ise

Because of the risks associated With issuing RABs and to ensure the RAB operates successfully,
it is imperative that the bank devote knowledgeable staff to oversee the arrangement Examiners
should assess the board of directors’ practices for identifying the bank positions needed and
clearly assigning responsibility for overseeing the partner and its operations They should

 

l\/iarch 2007 FDiC - Division of Supervision and Consumer Protection 125

Risk l\/ianagement Examination i\/ianuai for Credit Card Activities Chapter XiV

 

determine whether the bank has provided adequate personnel and resources to fulfill its
obligations in regards to the program and to monitor the partner’s activities and portfolio
performance Examiners should look for proof that the bank's designated staff is knowledgeable
and experienced with the processor, software programs, and other devices used by the partner
and has legal and compliance expertise as weil as accounting and technology expertise relevant
to credit card iending. if the bank services the portfolio, proof should confirm whether it has
adequate resources expertise infrastructures and technology to appropriately provide the
contracted services

Contracts

Contractual responsibilities are fundamental to protecting the bank’s interests and to determining
the level and type of risks the arrangement brings to the bank. Effective contracts detail each
party’s responsibilities specify what activities the partner is permitted to conduct and are
updated as needed They also address the risk factors identified during the bank’s risk
assessment and due diligence processes Normally, bank counsel reviews the proposed
contract Examiners should look for evidence that the contracts are structured to provide for the
sound operation of the program as weil as compliance with the Associations’ standards The
level of protection offered by the contract could be questionable if the bank does not require the
partner to consistently abide by its provisions which normally coverl among other items

Financial reporting.

Covenants and parameters

Access to information

l\/laterials and program control

Settlement reserves (coilaterai protection).
Pricing.

Abiiity to terminate contract

Audit.

Financial reporting.'

As noted the bank is liable for meeting the settlement requirement daily but may look to the
partner to supply settlement monies Further, many RAB contracts contain indemnification
provisions but indemnification by the partner is only as strong as the financial wherewithal of the
partner. A partner’s financial situation could quickly become stressed even to the point where it
may file bankruptcy or become insolvent possibly resulting in the bank having to retain the
receivables if it had not been doing so aiready. The bank could possibly also end up having to
cover costs such as if fines or penalties have been imposed if the partner cannot properly
reimburse the bank according to governing contract provisions As such, contract verbiage
normally requires the partner to provide reliable financial information, including balance sheet
earnings, cash flow, and contingent liability information Examiners’ attention should be directed
to situations in which the frequency of financial statement submission and review is not
commensurate with the risk posed by the program and/or the partner. Partners are typically
required to submit financial statements at least quarterly and audited financial statements
annuaiiy. For higher-risk programs or higher-risk partners more frequent submission and review
may be required Examiners should see proof that the board of directors has assigned
responsibility both for evaluating the financial information and for reporting the findings to the
board (or a designated committee) to competent employees Contracts that require proper
financial reporting practices can help the bank mitigate the risk of operating under a contract and
program that is not fully supported by the financial wherewithal of the partner.

 

 

i\/larch 2007 FDlC- Division of Supervision and Consumer Protection 126

Credit Card issuing Rent-a-BiNs

 

Covenants and parameters

Contracts normally contain financial covenants for the partner (such as capital requirements
liquidity expectations and appropriate settlement reserve baiances) as well as card portfolio
parameters (such as growth restrictions and performance expectations). The partner is usually
required to periodically report and certify compliance with the covenants and parameters and the
contract normally prescribes remedies in the event the covenants and/or parameters are violated
Examiners’ attention should focus on situations in which management does not have access to
and/or does not review reliable data to monitor and test compliance with the established
covenants and parameters Proper examiner attention should also be given to situations in which
review of the partner’s budgets and other projections is not occurring Such reviews help to
detect trends that might signal emerging problems with meeting the covenants and parameters in
the future Furtherl situations in which the partner has violated the covenants or parameters
warrant review during the examination

if the portfolio becomes stressed the partner (if it holds the receivables) could experience
reduced cash flows which may, in turn affect its ability to meet settlement requirements and,
thus potentially require the bank to provide funding. Portfoiio deterioration could lead to a
weakening of the partner’s overall financial condition since a substantial portion of its earnings
performance usually depends on the portfolio. Further, portfolio deterioration could signal
ineffective servicing and management of the portfolio by the partner or other contracted servicers
and could eventually entice the partner to use overly aggressive collection or other questionable
servicing techniques which could exacerbate compliance and legal risks if the partner does not
maintain appropriate capital or other financial measures it may not be able to make good on its
indemnification obligations and may not be able to fund the receivables Thus if contracts do not
establish financial covenants for the partner as weil as portfolio performance parameters for the
portfolio, the bank is left with the risk that the partner may not be able to properly perform its
contracted obligations such as purchasing receivables paying the rental fee, and so forth.

Access to information;

To ensure that management can assess the partner’s policies and practices for compliance with
laws, rules regulations safe and sound business practices, and the Associations’ rules the
contract ordinarily provides management with ready access to such policies and procedures
Examiners should confirm Whether procedures have been established to notify the bank When
service disruptions security breaches or other events pose risk to the bank or when the partner
receives any consumer complaints or litigation notices related to the bank’s program. if a
contract does not provide for appropriate access to information the bank may be at the risk of
unknowingly being named in lawsuits or unknowingly having its customers’ or other information
breached A lack of appropriate access could also inhibit the bank from promptly identifying any
changes that the partner may have inappropriately made to its policies or operating procedures

Materials and program control:

The agreements generally grant the bank pre-approval rights over all program materials (such as
marketing materials and cardholder agreements). Pre-approval rights over plans to issue new
products or to materially alter existing products are also typical control features Further, review
and approval of card fee structures prior to implementation is a critical function of bank
management The granting and exercise of ali of these rights is necessary to ensure that the
partner is not taking on inappropriate levels of risk that could ultimately impact the bank.
Contracts that are structured to commit the bank to open or maintain any particular level or
number of cards, accounts or receivables could cause the bank or the partner to take on a
greater level of risk than can be appropriately controlled

 

l\/iarch 2007 FDiC - Division of Supervision and Consumer Protection 127

Risk l\/ianagement Examination l\/lanual for Credit Card Activities Chapter XiV

 

Settlement exposure reserves (oo//ateral protection):

The contract ordinarily requires the partner to provide some kind of security or protection against
any settlement exposure that the bank might face if the partner is unable to settle through
agreed-upon normal means Normal means could include the partner wiring funds to the bank
daiiy, an authorized debit of the partner’s general operating account at the bank, or some other
similar method Security for the exposure if the partner is not able to settle via normal means
frequently takes the form of a combination of two or more of the following options: a deposit
account, a contingency reserve a credit facility, or other mechanism. Some banks have required
the partner to hold ten days of coverage in aggregate in any case the funds available to the
bank should tie to a realistic, well-documented contingency plan The portfolio’s available credit
(open-to-buy) position and trends in that position can point to potential future trends or worst-
case exposures regarding settlement activity, and, thus are important considerations for
determining the adequacy of protection provided Settlement exposure reserves frequently
consist of two items

o A Deposit Account - i\/iany contracts call for the partner to provide for and maintain
an adequate deposit to cover potential shortfalls that may occur in daily settlement
This deposit is normally separate from any operating accounts that the partner might
have at the bank. Concern arises when the method for determining the necessary
deposit amount has not been specified or controlled by the bank. The deposit is
usually held at the bank, but whatever the case examiners should look for evidence
that the bank has proper controls over the deposit which may include a perfected
first lien The partner typically has outside financing, so without proper controls, the
bank’s lien could fall behind liens of the financier. The deposit is usually required to
cover several days of settlement volume (for purchases cash advances and so
forth). Some contracts call for coverage of three days of volume (when a
contingency reserve or other reserve/protection source is also used). Each contract
needs to be reviewed on a case-by-case basis in the context of the activities being
conducted and of any additional support (or lack thereof) provided by other means
Effective calculations to determine the deposit consider items such as seasonal
fluctuations portfolio growth, and customer payment rates and are Well-documented.
Contract features also usually call for the partner to repienish the balance in the
account within a very short period once the account is drawn on Compliance with
the deposit requirement is often included in covenant-monitoring reports Failure by
management to ensure the deposit is accurately calculated and sufficiently funded
could lead to an inability to meet settlement needs without the bank providing funds

e A Cont/`ngency Reserve - Contracts also frequently require the partner to fund and
maintain (at the bank or at a third-party) an adequate contingency reserve (or similar
instrument) for use if the partner is unable to fully repienish the deposit account. Like
the deposit a contingency reserve usually covers several days of settlement,
although its coverage is ordinarily ionger, such as around seven days Contingency
reserves also warrant review on a case-by-case basis in lieu of a contingency
reserve some partners establish a credit facility to the benefit of the bank An
effective contingency reserve calculation (or credit facility or other instrument)
considers items such as seasonal fluctuations portfolio growth, and customer
payment rates and is Weii-documented. if the contingency facility is at a third partyl
examiners should evaluate management’s practices for periodically verifying the
availability and liquidity of the funds Contracts may call for the partner to repienish
these secondary funding sources within a very short period in the event they are
drawn on, although if the contingency reserves are being drawn on, the third party is
likely under financial stress Failure to ensure the availability of such funds or the
adequacy of the required funding amount could lead to an inability to settle in the
event the bank does not step forward with its own funds Again, proper controls over
the contingency instrument are criticai.

 

i\/larch 2007 FDlC- Division of Supervision and Consumer Protection 128

Credit Card issuing Rent-a-Ble

 

Pricing.'

Comprehensive contracts clearly depict the compensation structure allow for periodic review and
re-pricing of services and identify which party is responsible for each expense incurred if the
partner or another entity holds the receivables a bank essentially pays for perceived insulation
from credit losses by foregoing higher compensation that would typically be associated with
carrying the card portfolio on its books Ratherl in these cases the partner typically retains most
of the income generated by the portfolio and carries most of the expenses Examiners should
evaluate whether the bank’s compensation is commensurate with the risks retained as weil as
with the costs incurred for monitoring and managing the arrangement

ineffective pricing structures could quickly erode the bank’s profits Therefore, examiners should
determine whetherl prior to entering into or re-negotiating a RAB contract management performs
detailed cost analyses of its expenses and tries to obtain information on comparable transactions
Because the responsibilities and card portfolios under each bank’s arrangements are different
pricing structures are difficult to compare and vary from contract to contract Some contracts
specify tiered fee structures where the fee per account (the definition of account also varies from
contract to contract) is reduced as the volume of accounts increases For example a contract
might call for a dollar per account for the first 100,000 accounts 75 cents per account for the next
200,000 accounts and so forth‘°. Others use a flat monthly rate Some contracts call for an
upfront fee (or set-up fee) and/or establish a minimum fee per month. Whatever the case
examiners should expect pricing to adequately compensate the bank for its risks and costs

Examiners should also expect that, throughout the life of the arrangement, management
produces an income and cost statement for issuing RAB activities and properly budgets for its
RAB activities Effective statements display RAB fees or other related income received and ali
direct and indirect costs incurred The bank might have to make a sizeable investment in the
program to implement systems and personnel to appropriately run and monitor the program.
And it might not be a profitable venture for the bank if the RAB partner is unable to generate a
sufficient volume of accounts or properly manage the program.

Examiners’ attention should also be directed to situations in Which management is not monitoring
portfolio profitability, regardless of Whether the bank holds the receivables Portfolios that
evidence deteriorating or negative earnings performance could signal improper management by
the partner, existing or future stressed cash flows to the partner, or other impacts on the partner,
all of Which could potentially, albeit indirectly, result in safety and soundness risks to the bank.

Ability to terminate contract.'

Comprehensive contracts address circumstances under which the bank can exit the agreement
and set forth reasonable timeframes for such actions. For example the bank normally has the
ability to terminate the contract if the partner materially breaches the contract (usually after
considering a reasonable cure opportunity). Timeframes for notification of intent to terminate
should be commensurate with the risks and the reasons for termination Contract language that
requires the bank to incur substantial fees for terminating the contract for appropriate cause
should be carefully analyzed Contracts that do not provide the appropriate ability to terminate
the contract leave the bank at the risk having to operate a program that could be unprofitable or
that has substantial liquidity risks or other implications

Audit.'
The potential for serious or frequent violations and noncompliance exists when a bank’s oversight

program does not include appropriate audit features As suchl management normally retains the
right to audit the partner (and its sub-contractors). Contract verbiage also normally requires the

 

10 The fees cited here are for example purposes only and should not be construed to be typical or endorsed pricing.

 

lVlarch 2007 FDiC - Division of Supervision and Consumer Protection 129

Risk i\/lanagement Examination l\/ianual for Credit Card Activities Chapter XiV

 

partner to provide its applicable internal and external audit reportsl including the findings of
financial and procedural audits and the partner’s responses thereto, to bank management for
review. if a contract does not provide for appropriate audit access, it leaves the bank at risk of
failing to timely identify concerns or problems With the program and its operations As a result
the bank could become subject to elevated legall compliance or other risks

Examiners should look for proof that the bank’s internal audit program incorporates a
comprehensive review of bank management’s supervision and oversight of the RAB relationships
and activities as well as a review of each entity’s adherence to contract provisions The bank’s
internal audit program is normally expected to confirm that policies, procedures, and materials for
the RAB activities have been properly approved by bank management and comply with laws,
rules and regulations it ordinarily includes periodic on-site inspections of the partner as well as
requires the partner to respond to and address issues identified by the internal audits Examiners
should also assess bank management’s practices for conducting its own audits of the partner’s
processes especially when the partner has not provided for appropriate audits Examiners
should verify whether internal audits assess how the program complies with applicable laws,
regulations, and guidance and whether the internal audits are weil-documented and readily
available Reguiatory scrutiny and risk management expectations for certain practices will be
greater for higher-risk portfolios and segments as well as for higher-risk partners

Contingency Plann/'ng

Examiners should also direct their attention to arrangements for which all parties involved
including the bank, purchasers servicers and other affected parties do not have proper
contingency plans in place The review should incorporate an assessment of how management
normally reviews those types of plansl particularly for entities providing material services The
bank’s plans normally involve transferring the program to another entity, funding the program
internally, or shutting down the card program if the contract is terminated. Examiners should
substantiate whether contingency plans are written and board-approved identify specific actions
the bank will take and include appropriate information such as contact information for the parties
involved Concern is normally elevated when the plans only include activation after default has
occurred and do not consider actions to be taken to lessen risk exposure as soon as indications
of potential default by the partner have become apparent For cases in Which securitizations are
used either by the bank, partner, or third party as the funding mechanism for the receivables
contingency planning takes on added elements of complexity For example the plan then needs
to address the impact of potential events on the ability to continue to sell assets to the trust

Comprehensive, well-thought out plans consider exposures in worst-case scenarios such as the
existing full open-to-buy exposure combined with the maximum time necessary to close
accounts as weil as potential, more likely scenarios such as those that consider the ability to
reduce credit lines and close problem accounts. Without a sufficient contingency plan, the bank
could find itself in a strained liquidity position, similar to an early-amortizing securitization.

Ability to Cease Author/'zations

The ability to cease authorizations on the cards if the partner materially breaches the agreement
or does not maintain adequate deposits contingency reserves or other required collateral is
crucial Contracts and cardholder agreements normally allow the bank to stop authorizations if
management does not have such authority with the processor, problems could arise if a bank
cannot shut down or limit authorizations in a timely manner, it increases its funding risk and may
ultimately end up taking on credit risk that it may not be able to control Even with the authority to
cease authorizations problems could arise regarding the Association membership, impacting the
bank’s aggregate risk position

 

i\/larch 2007 FDlC- Division of Supervision and Consumer Protection 130

Credit Card issuing Rent-a-BiNs

 

Risk Measurement Systems

Risk measurement systems to operate monitorl and control issuing-RAB activities are critical
components to the successful operation of such activities Examiners should assess reports that
management regularly receives to determine Whether those reports enable management to
gauge in a timely and comprehensive mannerl the risk posed by RAB activities l\/ianagement
normally receives and reviews key management reports no less than monthly. The reports
commonly include items such as the number and dollar volume of accounts delinquency and
charge-off volumes over-limit data, customer service metrics, sales volumes payment volumes
profitability, and any other relevant metrics needed to appropriately gauge risk. Concerns arise
when appropriate segmentation methods are not incorporated and when management is not
closely monitoring the trend and volume of available credit (open-to-buy) positions The level of
available credit coupled with normal or expected account usage can be an indicator of future
potential settlement requirements Reports reviewed by management also normally include
information for measuring the partner’s performance against that required by the contract if
securitization activities are associated with RAB activities, examiners should require that
reporting on the securitization facilities and performance is incorporated l\/ionitoring the
securitized pool by both the bank and the partner is particularly important when the partner relies
heavily on securitization for funding. The bank could have to fund settlement if an early
amortization is triggered in addition, adverse impacts on the partner’s financial wherewithal from
poor performance in the securitized receivables could impact the partner’s ability to cover its
other assigned expenses such as fines or cardholder reimbursements

The level of detail and frequency of reporting funneled to the board is contingent on the size and
risk profile of the operation in relation to the overall operations of the bank and its capital base
However, board reporting normally occurs no less frequently than quarterly and more frequently
in certain instances such as if concerns with the partner or portfolio are identified, if the
arrangements involve higher-risk activities such as subprime iending, if the card portfolios
involved are sizable compared to the bank’s asset base and capital levell or if it is a new activity.

PARTNER’S OTHER RELATlONSHiPS W|TH THE BANK

Concerns normally arise when management has not considered lending or other relationships
that it has with the partner when analyzing the bank’s total risk exposure or when each applicable
area of the bank involved With the partner does not inform the other(s) about any adverse change
in the partner’s credit quality. For example a partner’s failure to make a loan payment likely
points to emerging credit quality problems that may affect the partner’s ability to meet settlement
requirements or to fund the deposit and/or contingency reserve

Lending to a partner essentially creates a conflict of interest that could result in management
failing to take appropriate action against the partner when problems arise For example
management might not Want to discontinue marketing the card program because such an action
might jeopardize repayment of the bank’s loan to the partner When management continues with
a problem relationship, it often exacerbates the problems and increases subsequent losses
Examiners should look for evidence that management fully understands the total risk exposure
when lending to a partner and carefully manages any such relationships to ensure any losses are
minimized

CAP|TAL

A bank must hold appropriate capital for all of its business lines including issuing-RAB
arrangements Effective policies limit the bank’s volume of issuing-RAB activity relative to the
bank’s capital, the bank’s risk profile and management’s ability to monitor and control the risks
Examiners assess the records supporting the capital allocation for issuing-RAB activities

 

i\/larch 2007 FDiC - Division of Supervision and Consumer Protection 131

Risk Management Examination i\/lanual for Credit Card Activities Chapter XiV

 

 

Existing regulations do not assess a specific capital charge for the aspects of issuing-RAB
activities that the bank may be carrying off balance sheet But, regulators may require the bank
to hold capital above the regulatory minimums When appropriate in general, factors considered
in determining the proper level of capital to hold include:

Quaiity of the partner, including reputation, experience and organizational culture
Bank's management expertise in the area of credit card operations and RABs
Quaiity of the RAB oversight program.

Profitabiiity of the RAB activities from both the bank’s perspective and the portfolio’s
perspective

Any instances of breach of contract

Deterioration in the partner’s financial condition

Type of program offered through the RAB arrangement because certain types of
business such as subprime iending, are inherently riskier.

Portfoiio balance as weil as open-to-buy trends and exposures

Quaiity and reasonableness of contingency plans

Audit findings

Bank’s risk profile including the adequacy of capital to support its other business
lines

Some RAB banks that are not holding the receivables consider risk-weightings similar to those
that would be in place if the receivables were still on the bank’s books adjusted for collateral or
other protection available Examiners should expect that any methodology used will be weil-
supported and thoroughly documented and tie to considerations such as, but not limited to, those
identified in the prior bullet points

ACCOUNT|NG

As discussed issuing RAB arrangements can have various structures in some cases the bank
may have even been retaining the receivables for quite some time and only later decided to move
the receivables off its balance sheet Examiners will normally look at management’s
documentation of the RAB structure(s)l including bookkeeping entries used. Because the
structures operations and bookkeeping entries for the arrangements vary based on the
governing contracts accounting consequences also vary. Aii it would take to bring a receivable
within the scope of FAS 140, Accounting for Transfers and Servicing of Financial Assets and
Extinguishments of Liabi/ities is for the receivable to be an asset of the bank for even a brief
moment before being transferred to the partner or another party. in this case management will
need to determine whether or not the transfer of the receivables qualifies for sale accounting
under FAS 140. To ensure ali applicable accounting guidance (FAS 140 and otherwise) is
followed examiners would normally expect (and confirm) that management has consulted with
the bank’s accountants

SU|V||V|ARY OF EXAl\/||NATlON GOALS -
CREDiT CARD lSSU|NG RENT-A-BiNS

Examiners must determine the extent of the bank’s RAB activities as weil as the level of risk that
the activities pose to the bank. They must also determine whether the bank’s capital level
adequately covers the identified risk. Procedures for reviewing RAB arrangements are often
similar to those procedures used to review other types of third-party arrangements Examiners
should review and assess

¢ Appiicable board and committee minutes in coordination with the EiC.
~ The bank’s RAB policies to determine if they are comprehensive and that
management is cognizant of the risks involved in such activities

 

 

l\/larch 2007 FDIC- Division of Supervision and Consumer Protection 132

Credit Card issuing Rent-a-Ble

 

~ i\/ianagement’s due diligence practices to determine whether this early line of
defense against problematic relationships is effective

c Stafflng and resources to assess if the level is sufficient and qualifications are
acceptable

¢ The contract between the bank and the partner to determine if it is comprehensive
and sufficiently limits the level of the risk that the bank assumes

~ i\/ianagement’s practices for testing and ensuring compliance with the contract to
determine if emerging problems with the partner are promptly identified, thus allowing
contract termination to be evoked timely when warranted

¢ The marketing materials used for the program, including whether bank management
exercises appropriate approval authority over such materials
The audit program to determine if it sufficiently encompasses issuing RAB activities
Deposit contingency reserve or other risk-mitigating funds/assets to determine if
they are adequate appropriately monitored and readily available

¢ Pricing structure and profitability data to assess whether fees received adequately
compensate the bank and to identify any instances where portfolios might be
unprofitable and, thus appear to pose risk to both the partner and the bank

~ Contingency plans for thoroughness and reasonableness

~ Compliance with the Ai\/iG as weil as any other applicable laws, regulations, or
guidance

in some cases examiners should sample the partner’s underwriting and other practices to
compare them to established policies, laws, regulatory guidance and other applicable devices
The use of or level of these types of review can be influenced by whether or not bank
management is effectively reviewing and auditing such areas if bank management is not
properly reviewing the various areas including underwriting and collections then examination
procedures will generally include expanded testing and review of the portfolio. Testing and
portfolio review will also likely be expanded when higher-risk iending, such as subprime lending,
or higher-risk partners are evident

The following items might signal current or future elevated risk and warrant foilow-up:

o Lack of appropriate RAB policies

~ Failure to appropriately monitor collateral protectionl such as deposit and
contingency reserve balances or other risk-mitigating devices

Unprofitable RAB operations

Unprofitable portfolios

Lawsuits or other complaints brought by cardholders.

Compliance issues

Weak due diligence practices

Failure to properly monitor the partner’s compliance with financial covenants and
performance parameters

Failure to properly monitor performance of the portfolio.

Failure to meet settlement requirements

Failure of the partner to provide open and timely communication with management
Weak understanding of the partner’s activities and operations

Unfavorabie correspondence from or to the Associations

These lists are not exhaustive and examiners must exercise discretion in determining the
expanse and depth of review procedures to appiy. if examiners identify significant concerns they
should expand procedures accordingly in addition, examiners may limit the review as
appropriate

 

i\/larch 2007 FDiC - Division of Supervision and Consumer Protection v 133

EXHIBIT D

Risk l\/lanagement Examination l\/lanual for Credit Card Activities Chapter XiX

 

 

 

X|X. l\/iERCHANT PROCESS|NG

 

l\/ierchant processing is the acceptance processing, and settlement of payment transactions for
merchants A bank that contracts with (or acquires) merchants is called an acquiring bank,
merchant bank, or acquirer. Acquiring banks sign up merchants to accept payment cards for the
network and also arrange processing services for merchants They can contract directly with the
merchant or indirectly through agent banks or other third parties

A bank can be both an issuing bank and an acquiring bank, but banks most often specialize in
one function or the other. l\/ierchant processing is a separate and distinct line of business from
credit card issuing lt is generally an off-balance sheet activity with the exception of merchant
reserves and settlement accounts both of which are discussed later in this chapter l\/ierchant
processing involves the gathering of sales information from the merchant obtaining authorization
for the transaction collecting funds from the issuing bank, and reimbursing the merchant it also
involves charge-back processing The vast majority of merchant transactions are electronically
originated (as compared to paper-based) and come from credit card purchases at merchant
locations or the point-of-saie (POS). l\/ierchant processing increasingly includes transactions
initiated via debit cards smart cards, and electronic benefits transfer (EBT) products

TRANSACT|ON PROCESS OVERV|EW

The payment networks are the center of the cardholder transaction process and maintain the flow
of information and funds between issuing banks and acquiring banks in a typical cardholder
transaction the transaction data first moves from the merchant to the acquiring bank (and
through its card processor, if applicable), then to the Associations and finally to the issuing
bank (and through its card processor, if applicabie). The issuing bank ultimately bills the
cardholder for the amount of the sale Ciearing is the term used to refer to the successful
transmission of the sales transaction data. At this point no money has changed hands rather,
only financial liability has shifted The merchant howeverl needs to be paid for the sale
Settlement is the term used to refer to the exchange of the actual funds for the transaction and its
associated fees Funds to cover the transaction and pay the merchant flow in the opposite
direction: from the issuing bank to the Associations to the acquiring bank, and finally to the
merchant The merchant typically receives funds within a few days of the sales transaction

in a simple forml the clearing and settlement processes for payments can be illustrated with a
standard four-corners model (as discussed in the FF|EC iT Examination Handbook, Retail
Payment Systems Handbook (l\/larch 2004)). in this model, there is a common set of participants
for credit card payments one in each corner (hence, the term four-corners model) and one in the
middle of the diagram. The initiator of the payment (the consumer) is located in the upper left-
hand corner, the recipient of the card payment (the merchant) is located in the upper right-hand
corner, and the relationships of the consumer and the merchant to their banks (the issuing bank
and the acquiring bank, respectiveiy) reside in the bottom two corners The payment networks
that route the transactions between the banks such as Visa, are in the middle of the chart The
information and funds flows for a typical credit card transaction are illustrated in a four-corners
model13 labeled Exhibit D on the next page information flows are presented as solid lines while
funds flows are represented by dashed lines

 

13 The model and discussion generally mirror the model and discussion that is presented in the FF|EC iT Examination
Handbookl Retaii Payment Systems Handbook (i\/iarch 2004).

 

 

i\/iarch 2007 FDiC- Division of Supervision and Consumer Protection 164

 

l\/lerchant Processing

 

Step 1: The consumer pays a merchant with a credit card

Steps 2 and 3: The merchant then electronically transmits the data through the
applicable Association’s electronic network to the issuing bank for
authorization

Steps 4, 5, and 6: if approved the merchant receives authorization to capture the
transaction and the cardholder accepts liability, usually by signing the
sales siip.

Steps 7 and 8: The merchant receives payment net of fees by submitting the captured
credit card transactions to its bank (the acquiring bank) in batches or at
the end of the day“.

Steps 9 and 10: The acquiring bank forwards the sales draft data to the applicable

Association, which in turn forwards the data to the issuing bank.

The Association determines each bank’s net debit position The Association’s settlement
financial institution coordinates issuing and acquiring settlement positions i\/iembers with net
debit positions (normaiiy the issuing banks) send funds to the Association’s settlement financial
institution which transmits owed funds to the receiving bank (generaiiy the acquiring banks).

Step 11: The settlement process takes place using a separate payment network
such as Fedwire.

Step 121 The issuing bank presents the transaction on the cardholder’s next
billing statement.

Step 13: The cardholder pays the bank, either in full or via monthly payments

Exhibit D

 

 

 

4 6
1 7
11 ‘%/'
5

Payment Network
(for instance Visa
or l\/iasterCard)

  

 
    
   

12 13

m

______________________.>

 

 

4____---_____________

Acquiring Bank

issuing Bank y

 

 

 

 

 

14 Acquiring banks generally pay merchants by initiating Automated Ciearing House (ACH) credits to deposit accounts at
the merchants’ local banks (possibiy an agent bank). if an acquiring bank employs a third-party card processor, the card
processor usually prepares the ACH filel

 

i\/larch 2007 FDiC - Division of Supervision and Consumer Protection 165

Risk Management Examination l\/ianual for Credit Card Activities Chapter XiX

 

Exhibit D is only a simplistic example of the variety of arrangements that can exist The parties
for the transaction could be one of thousands of acquirers or issuers or one of millions of
merchants and consumers. Further, there are many other ways the arrangements can be
structured For example in on-us transactions the acquiring bank and the issuing bank are the
same Aiso, the timing of the payment to the merchant (step 8 of Exhibit D) varies Some
acquiring banks pay select merchants prior to receiving funds from the issuing bank, thereby
increasing the acquiring bank’s credit and liquidity exposure However, payment from the
acquiring bank to the merchant often occurs shortly after the acquiring bank receives credit from
the issuing bank.

The presence of third-party organizations coupled with the acquiring bank’s ability to sub-license
the entire merchant program, or part thereof, and the issuing bank’s ability to sub-license the
entire issuing program, or part thereof, to other entities also introduces complexities to the
transaction and fund flowsl For example because the cost of technology infrastructure and the
level of transaction volume are high for acquiring banks most small acquiring banks rely on third-
party card processors to perform the functions in addition, issuing banks often use card
processors to conduct several of their services in infra-processor transactions the same third
party processes for both the acquiring bank and the issuing bank. Under the by-iaws and
operating rules/regulations of the Associations the issuing banks and acquiring banks are
responsible for the actions of their contracted third-parties, respectively

A merchant submits sales transactions to its acquiring bank by one of two methods Large
merchants often have computer equipment that transmits transactions directly to the acquiring
bank or its card processor Smaller merchants usually submit transactions to a vendor that
collects data from several merchants and then transmits transactions to the acquiring banks

RiSKS ASSOC|ATED WlTH l\/iERCHANT PROCESS|NG

Some bankers do not understand merchant processing and its risks Attracted to the business by
the potential for increased fee income they might underestimate the risk and not employ
personnel with sufficient knowledge and expertise They also might not devote sufficient
resources to oversight or perform proper due diligence reviews of prospective third-parties l\/lany
banks simply do not have the managerial expertise resources or infrastructure to safely engage
in merchant processing outside their local market or to manage high sales volumes high-risk
merchants or high charge-back levels i\/iany of a bank’s risks may be interdependent with
payment system operators and third parties For example the failure of any payment system
participant to provide funding for settlement may precipitate liquidity or credit problems for other
participants regardless of whether they are party to payments to or from the failing participant

For banks that engage in merchant programs or that are contemplating engaging in such
programs, examiners should look for evidence that management understands the activity's risks
which include credit, transaction liquidity compliancel strategic, and reputation risk. A failure by
management to understand the risks and provide proper controls over such risks can be very
problematic, and even lethai, to the bank. Take, for example the case of National State Bank,
i\/letropolis, illinois inadequate control of the credit and transaction risks associated with its
merchant processing activities contributed to a high volume of losses that ultimately depleted
capital, threatened the bank’s liquidity, and led to its closing by the Office of the Comptrolier of
the currency (occ) in December 2000.15

 

15 As per press release PR-90-2000.

 

l\/larch 2007 FDiC- Division of Supervision and Consumer Protection 166

l\/ierchant Processing

 

Credit Risk

A primary risk associated with merchant processing is credit risk Even though the acquiring
bank typically does not advance its own funds processing credit card transactions is similar to
extending credit because the acquiring bank is relying on the creditworthiness of the merchant to
pay charge-backs Charge-backs are a common element in the merchant processing business
and are discussed in more detail later in this chapter They can result from legitimate cardholder
challenges fraud, or the merchants failure to follow established guidelines. Charge-backs
become a credit exposure to the acquiring bank if the merchant is unable or unwilling to pay
legitimate charge-backs in that case the acquiring bank is obligated to honor the charge-back
and pay the issuing bank which could result in significant loss to the acquiring bank in a sense
the acquiring bank indemnifies a third party (in this case the issuing bank that in turn indemnifies
the cardholder) in the event that the merchant cannot or does not cover charge-back Banks
have been forced to cover large charge-backs when merchants have gone bankrupt or
committed fraud Acquiring banks control credit risk by using sound merchant approval
processes and closely monitoring merchant activities

Transaction Risk

Acquiring banks are faced with the transaction risk associated with service or product delivery
because they process credit card transactions for their merchants daily The risk can stem from a
failure by the bank or any party participating in the transaction to process a transaction properly
or to provide adequate controls it can also stem from employee error or misconduct a
breakdown in the computer system, or a natural catastrophe The acquiring bank needs an
adequate number of knowledgeable staff, appropriate technology comprehensive operating
_ procedures, and effective contingency plans to carry out merchant processing efficiently and
reliably A sound internal control environment is also necessary to ensure compliance With the
payment netvvorks’ rules Formal reconciliation processes are also essential to limiting risk

The high transaction and sales volume normally encountered with merchant processing
programs creates significant transaction and liquidity risks A failure anywhere in the process can
have implications on the bank Exampies include an issuing bank’s inability to fund settlement to
the acquiring bank or a processing center’s failure to transmit sales information to the issuing
bank, thus resulting in a delay of or failure of funding to the merchant bank

Liquidity Risk

Liquidity risk can be measured by the ability of the acquiring bank to timely transmit funds to the
merchants Acquiring banks often limit this risk by paying merchants after receiving credit from
the issuing bank if the acquiring bank pays the merchant prior to receiving credit from the
issuing bank, the acquiring bank could sustain a loss if the issuing bank is unable or unwilling to
pay Some acquiring banks delay settlement and pay merchants one day after receiving the
funds from the issuing bank The delay allows the acquiring bank time to perform fraud reviews
For delayed settlement, which most commonly occurs when transactions are identified as
suspicious or unusuall management is expected to have established formal procedures
Because merchant deposits can be volatile risk may also arise if the acquiring bank becomes
reiiant on the merchants deposits as a funding source for other bank activities Furthermore,
substantial charge-backs could potentially strain the bank’s financial condition and/or reputation
to such a degree that its creditors may withdraw availability of borrowing lines

Associations guarantee settlement for transactions that pass through interchange As a result
they may require collateral pledges/security if a bank's ability to fund settlement becomes
questionable This can create significant liquidity strains and potentially capital difficulties
depending on the size of the collateral requirement and/or the financial condition of the bank

 

l\/iarch 2007 FDiC - Division of Supervision and Consumer Protection 167

Risk Management Examination i\/lanual for Credit Card Activities Chapter XiX

 

 

The Associations' rules allow them to assess the banks directly through the settlement accounts
if the bank is not forthcoming with the collateral

Compliance Risk

Compliance risk arises from failure to follow payment networks’ rules and regulations, clearing
and settlement rules suspicious activity reporting requirements and a myriad of other laws
regulations, and guidance lt can lead to fines payment of damages diminished reputation,
reduced franchise value limited business opportunities reduced expansion potential, and lack of
contract enforceability Acquiring banks can limit compliance risk by ensuring a structured
compliance management program is in place the internal control environment is sound and staff
is knowledgeable They can also limit risk by providing staff with access to legal representation
to ensure accurate evaluation of items such as new product offerings legal forms laws and
regulations, and contracts

Strategic Risk

Strategic risk arises from adverse business decisions or improper implementation of those
decisions A failure by management to consider the bank’s merchant processing activities in the
context of its overall strategic planning is normally cause for concern A decision to enter,
maintain or expand the merchant processing business without considering management’s
expertise and the bank’s financial capacity is also normally cause for concern Examiners should
also pay close attention to how the acquiring bank plans to keep pace with technology changes
and competitive forces Examiners should look for evidence that the strategic planning process
identifies the opportunities and risks of the merchant processing business sets forth a plan for
managing the line of business and controlling its risks; and considers the need for a
comprehensive vendor management program. An evaluation of management's merchant
processing expertise is critical to judging strategic risk The bank’s overall programs for audit and
internal controls, risk management systems outsourcing of services and merchant program
oversight are key to controlling the strategic risk

Reputation Risk

Reputation risk arising from negative public opinion can affect a bank’s ability to establish new
relationships or services or to continue servicing existing relationships This risk can expose the
bank to litigation financial loss or damage to its public image The bank’s business decisions for
marketing and pricing its merchant processing services can affect its reputation in the
marketplace Reputation risk is also associated With the bank’s ability to fulfill contractual
obligations to merchants and third parties iViost notably the outsourcing of any part of the
merchant processing business easily increases reputation risk Decislons made by the acquiring
bank or its third-parties can directly cause loss of merchant relationships litigation fines and
penalties as weil as charge-back losses Concerns normally arise when the acquiring bank does
not maintain strong processes for performing due diligence on prospective merchants and third-
parties or perform ongoing evaluations of existing merchant and third-party relationships

|ViANAGEi\/iENT

Examiners should expect that management fully understand prior to becoming involved in
merchant processing and continuing thereafter, the risks involved and its own ability to effectively
control those risks i\/lerchant programs are specialized programs that require management
expertise significant operational support and rigorous risk-management systems it can be a
profitable line of business but if not properly controlled can result in significant risk to the bank

 

l\/larch 2007 FDlC- Division of Supervision and Consumer Protection 168

i\/ierchant Processing

 

Examiners should determine whether qualified management has been appointed to supervise
merchant activities and to implement a risk management function that includes a merchant
approval system and an ongoing merchant review program for monitoring credit quality and
guarding against fraud Bank staff’s knowledge and skill-sets are expected to be commensurate
with the risks being taken For example personnel responsible for processing charge-backs
should have the technical knowledge and understanding of charge-back rules and personnel
responsible for approving merchant applications should have the ability to properly evaluate
creditworthiness and identify high-risk merchants

Examiners assessing risks of merchant programs should direct their attention to situations in
which management has not put proper risk measurement systems in place to operate monitor,
and control the activity effectively This includes situations that evidence the absence of regular
management reports detailing pertinent information Key reports generally include new merchant
acquisitions merchant account attrition merchant portfolio composition sales volumes charge-
back volumes and aging, fraud, and profitability analyses

Examiner attention should be given to instances in which comprehensive written merchant
processing policies and procedures are absent or are not adequate for the size and complexity of
operations Necessary components of policies and procedures generally include:

o Ciear lines of authority and responsibility (for example the level of approval required
to contract with certain types of merchants).
Adequate and knowledgeable staff
l\/larkets, merchant types and risk levels the bank is and is not willing to accept
Limits on the individual and aggregate volume of merchant activity that correlates
with the bank’s capital structure management expertise and ability of operations to
accommodate the volume (e.g., human and systems resources) as Weil as with
merchantsl risk profiles

~ Goals for portfolio mix and risk diversification including limits on the volume of sales
processed for higher-risk merchants and that take into account the level of
management expertise

~ i\/ierchant underwriting and approval criteria

~ Procedures for monitoring merchants including financial capacity, charge-backs and
fraud (regardiess of who originates the merchants for the bank).

o Criteria for determining appropriate holdback or merchant reserve accounts.

Procedures for settlement processing retrieval reguests and charge-backs

handling complaints monitoring and reporting of fraud, and training personnel

Third-party risk management controls

Guideiines for accepting and monitoring agent banks

Guidelines for handling policy exceptions

i\/iiS to keep management sufficiently informed of the condition of, and trends in, the

merchant program.

o Audit coverage

CAP|TAL

Examiners should insist that the bank hold capital sufficient to protect against risks from its
merchant business in addition, they should determine whether management has established
sound risk limits on the merchant processing volume based on the bank's capital structure the
risk profile of the merchant portfolio, and the ability of management to monitor and control the
risks of merchant processing

Associations limit the processing volume a bank can generate based upon the bank's capital
structure high-risk merchant concentrations and charge-back rates Banks operating outside
the established threshoids (which may vary and are subject to change) are generally considered

 

i\/iarch 2007 FDiC - Division of Supervision and Consumer Protection 169

Risk Management Examination i\/ianuai for Credit Card Activities Chapter XiX

 

to be high-risk acquiring banks by the applicable Association and may be subject to additional
activity limits or collateral requirements

No specific regulatory risk-based capital aliocation(s) for merchant processing activities, which,
as mentioned are typically off-balance sheet exist Nevertheiess capital regulations permit
examiners to require additional capital if needed to support the level of risk Examiners
frequently consider these measurements that take into account the volume of merchant activity;

~ Risk Weighted Off-Balance Sheet items for l\/lerchant Processing = Average monthly
merchant sales (Annuai i\/ierchant Sales/12) X 2.5 X 20 percent (conversion factor for
off-balance sheet items) X 100 percent (risk Weight category)ls.

o Tier 1 capital / (Average Totai Assets + Risk Weighted Off-Balance Sheet items for
l\/lerchant Activity).

|\/iERCHANT UNDERWR|T|NG

Evidence should corroborate that the bank scrutinizes prospective merchants with the same level
of diligence used to properly evaluate prospective borrowers Concerns may arise when the
bank’s underwriting does not consider the merchants ability to cover projected charge-backs as
well as its potential risk for fraud, high charge-back rates and business failure i\/lerchant
underwriting and approval policies generally

o Define criteria for accepting merchants (for example acceptable business types time
in business location sales and charge-back volumes and financial capacity).
Estabiish underwriting standards for the review of merchants

Define What information is required on the merchant application

Stipulate what information is required in the merchant agreement

Outline procedures and time frames for periodic review of existing relationships

Merchant Review and Approval

i\/lerchant unden/vriting provides an opportunity to reject a merchant that the acquiring bank
determines has an unacceptable history of charge-back volumes has a weak financial condition
is not operating a valid business or is otherwise not acceptable for the bank’s program. Limits
for personnel approving new merchant accounts are usually based on the merchants sales
volume and situations in which the designated bank personnel do not have appropriate levels of
credit expertise in relation to that volume are cause for concern Further, if the acquiring bank
uses information collected by independent Saies Organizations (iSOs) / i\/lerchant Service
Providers (i\/iSPs), examiners should look for policies and controls to be in place for
substantiating the quality of the information provided in addition to exception guidelines and
documentation requirements underwriting standards generally include:

A signed merchant application

A signed merchant processing agreement

A signed corporate resolution if applicable

An on-site inspection report

Analysis of credit bureau reports on the principal(s) of the business

Evaiuation of financial statements tax returns and/or credit reports on the business

 

16 This calculation converts the off-balance sheet activity (merchant sales settied) to an on-baiance sheet risk-weighted
item. The 2.5 figure represents a 2.5 month average liability for charge-backs that is based on the premise that most
charge-backs run off within 2.5 months Technicaliy, there is a potential 6 month Window of charge-back liability The 20
percent figure is the factor to convert the off balance sheet transactions subject to recourse to an on-ba|ance sheet item.
The 100 percent figure represents the risk weight applied based on capital regulations The resulting risk weighted off-
balance sheet items for merchant processing Would be included in the denominator of the risk based capital ratios

 

l\/larch 2007 FDiC- Division of Supervision and Consumer Protection 170

i\/lerchant Processing

 

~ Anaiysis of prior merchant activity, such as the latest monthly statements from the
most recent processor

o Anaiysis of projected sales activity (for instance average ticket amount
daily/monthly sales volume).

» Assessment of any existing relationship (for example a ioan) with the bank
6 Consideration of the line of business and/or the product(s) offered by the merchant
o Verification of trade and bank references
~ Evidence as to whether the merchant is on the l\/iember Alert To Controi High Risk
l\/ierchants (MATCH) system.
Principa/s'

Proper review by management normally includes conducting a background check on the
business’s principal(s), scrutinizing personal credit reports for derogatory information and
verifying addresses Where appropriate and allowed by law, management may also perform a
criminal background check

MA TCH.'

Association regulations state that acquiring banks must check i\/iATCH before approving a
prospective merchant The database contains a list of merchants that have been terminated for
cause or that have made multiple applications for merchant accounts (because submitting
applications to more than one acquiring bank simultaneously might indicate fraud). if an
acquiring bank denies permission to accept cards to a merchant because of adverse processing
behavior and fails to add it to the i\/iATCH list the acquiring bank can be liable for losses another
provider might suffer from that merchant17

if a merchant is listed on i\/iATCH, management is expected to contact the listing bank regarding
the termination reasons lVlATCH status can help a bank determine whether to implement
specific actions or conditions if a merchant is accepted Examiners should pay attention to
instances in which management has not carefully investigated a merchant listed on l\/iATCH or in
which their decision to accept or refuse a merchant has been solely based on the merchant being
listed or not being listed on iVlATCH.

On~Site /nspection:

The goal of on-site inspections is to verify a merchants legitimacy The absence of
documentation of the inspections including photographs and a written inspection report normally
is cause for concern as are situations in which the inspection was conducted by an individual who
has a financial interest in its outcome Acquiring banks signing merchants remotely sometimes
find performing inspections themselves difficult or expensive Often other acquiring banks or
third parties will perform site inspections on an exchange or fee basis in these cases examiners
need to assess whether management is weil-informed of the other parties’ inspection procedures
and ensures that the procedures are at a minimum, consistent with procedures management
would use if conducting a proper inspection itseif.

Products and Marketing:

The merchants line of business and/or the products offered as weil as its marketing practices are
key factors for management to consider when it evaluates the credit quality of a merchant The
Associations segment merchants according to activity because the type of activity often is a good
indicator of risk Thus it stands to reason that examiners may expect acquiring banks to

 

17 According to the article entitled ”i\/lerchant Acquirers and Payment Card Processors: A Look inside the Black Box,”
authored by Ramon P. DeGennaro, and housed in the First Quarter 2006 edition of the Economic Review (Federai
Reserve Bank of Atlanta).

 

l\/larch 2007 FDiC - Division of Supervision and Consumer Protection 171

Risk i\/ianagement Examination i\/lanuai for Credit Card Activities Chapter XiX

 

continually analyze their merchant portfolios along similar guidelines. Acquiring banks typically
compile a prohibited or restricted merchant list which includes the types of merchants they are
unwilling to sign or are willing to sign only under certain circumstances

While the extent of product and marketing evaluations varies considerations normally include
review of the merchants business plans, merchandise and marketing practices and materials
(for example catalogs brochures telemarketing scripts, and advertisements). in addition,
shipping billing, and return policies can be reviewed for unusual or inappropriate practices (for
instance customers being billed long before merchandise is shipped). These considerations can
help determine among other things, if: the business is of a type that typically has high charge-
back rates; the merchant is selling a legitimate product sales methods are legitimate and not
deceptive; product quality and price are consistent with projected sales and charge-back rates;
and customers will be satisfied with products ordered l\/ierchants offering low-quality products or
services tend to incur more charge-backs thus dissuading many banks from signing them.

The merchants sales volume and time frame within which product delivery is completed are other
considerations to evaluate risk Generaiiy, the greater the sales volume and the longer the time
between transactions and product delivery the greater the risk For example when a restaurant
closes an acquiring bank typically has less exposure to charge-backs for undelivered goods and
services in contrast the failure of a travel agency could expose an acquiring bank to substantial
charge-backs due to the high volume of reservations common in the travel agency business

Certain types of merchant businesses can present increased risk Aithough there are many
reputable merchants whose sales transactions occur without a credit card being present (card-
not-present merchants), these merchants generally present higher charge-back risks for
acquiring banks in particular mail order and telemarketing (lVlO/TO) merchants and adult
entertainment services merchants in aggregate tend to display elevated incidents of charge-
backs l\/lerchants without an established storefront (for example door-to-door salesman and fiea
market vendors) also typically pose greater risk for charge-backs The risk of charge-back is also
higher if the merchant sells products for future/delayed delivegg, such as airline tickets health
club memberships travel clubs or 1nternet purchases The increased risk associated with future
delivery of products results, in part because customer disputes are normally not triggered until
the date of delivery High charge-back rates are also generally associated with certain selling
methods such as sales pitches involving gifts cash prizes sweepstakes, installment payments
multi-ievei marketing, and automatic renewals unless the consumer opts out Association
regulations define certain broad business categories as high-risk merchants These categories in
general present higher risk, but each individual merchant in the category may not necessarily be
high risk Appropriate procedures and risk controls for high-risk merchants generally include:

o Criteria for determining the types of merchants the bank is or is not willing to sign and
under What circumstances

¢ increased emphasis on underwriting considerations regarding products and
marketing in evaluating the merchants

o Limitations on the volume of high-risk merchant transactions processed relative to
the bank’s total merchant portfolio.

~ Criteria for determining the appropriate level of holdback or reserve accounts to
sufficiently cover the level of credit risk

¢ Appropriate pricing of these merchants in relation to the charge-back risk and any
costs associated with increased monitoring

» Heightened monitoring and problem resolution For example for charge-back
monitoring1 banks may set lower charge-back thresholds for required remedial action
and/or a shorter timeline for problem resolution for those merchants exceeding
acceptable charge-back thresholds

o Compliance with bankcard regulations regarding registration of certain high-risk

merchants and assigning proper Merchant Catego!y Codes (MCCL to merchants

 

i\/iarch 2007 FDlC- Division of Supervision and Consumer Protection 172

i\/ierchant Processing

 

Merchant Agreements

if management has not sought legal advice when developing merchant agreements and/or
referred to network guidelines for contracting closer scrutiny of such agreements may be
warranted Typicai contents of a merchant agreement include but are not limited to:

Fees and pricing

l\/ierchant requirements at POS.

Requirements for cardholder information security

Prohibition of split sales drafts and laundering of sales drafts

l\/ierchant liability (for example charge-backs and reserves).

Notification of ownership changes or substantive marketing and product changes
Right to hold funds (for example bank's right to freeze deposits when fraudulent
activity suspected).

v Termination provisions

e internet provisions (for example encryption and web-site displays).

Periodic Review

Concerns normally become elevated when management is not monitoring the financial condition
of high-volume and high-risk merchants on an ongoing basis and/or when the bank’s policy has
not addressed the frequency of reviews and the size of merchants requiring reviews Examiners
should assess management’s practices for considering volume concentrations high-risk
industries and charge-back history in establishing the thresholds for periodic reviews
Depending on the composition of the bank’s merchant portfolio, examiners may not necessarily
expect the bank to conduct credit reviews of smaller merchants on an ongoing basis if the bank
used sound underwriting guidelines at acquisition and if the bank is using strong controls to
monitor all merchant transactions including fraud and charge-back monitoring Examiners might
observe cases in which databases (for items such as risk scores and bankruptcy filings) are used
to periodically screen the merchant portfolio,

Communication between merchant program and loan personnel regarding changes in the
merchants credit quality is key part of assessing any shared banking relationships For example
an unacceptable charge-back rate for a merchant might indicate emerging credit quality problems
that could trigger the need to review any lending relationships with the merchant Likewise,
concerns that identify merchants as problem borrowers could trigger the need to review merchant
arrangements if credit information shows deterioration in the merchants financial condition the
bank may want to reduce its risk exposure from merchant processing For instance when
dealing with a financially-unstable merchant the bank might require a holdback or security
deposit as discussed later in this chapter

lnternet Merchants

The lower level of barriers encountered when setting up an internet merchant increases the risk
of fraudulent businesses or businesses with minimal financial resources being established
compared to the risks associated with traditional merchants This risk elevates the need for
acquiring banks to conduct thorough underwriting reviews of internet merchants Whether fraud
and charge-back risks warrant additional risk-mitigation techniques such as delaying settlement
or setting up reserves is a critical decision that normally occurs during the unden/vriting process

Eiectronic commerce via the internet poses additional privacy and security concerns The
absence of or weak transaction and data security controls for customer transactions and storage
of customer information are cause for concern Secured servers and data encryption
technologies help to protect data and transaction integrity Other items considered normally
include whether the merchant meets the following general web site display guidelines

 

l\/larch 2007 FDiC - Division of Supervision and Consumer Protection 173

Risk l\/lanagement Examination l\/lanual for Credit Card Activities Chapter XiX

 

 

 

Description of goods and services offered

Customer service number

Company’s e-mail address

Statement regarding security controls

Delivery methods and timing

Refund and return policies

Privacy statements (permissible uses of customer information).

PR|CING

One of the key aspects of a successful merchant program is appropriately setting the fees that
the merchant will be charged for sales transactions and acquiring bank services l\/ierchant
pricing is extremely competitive especially for iarge- and national-scale merchants who generate
high transaction volumes High transaction volumes can lead to economies of scale and possibly
increased income Examiner should look for evidence that banks have adopted a pricing policy
that outlines the methods used for pricing, authority levels and repricing procedures A pricing
policy can facilitate consistency in pricing practices and help optimize profit margins

Acquiring banks use various methods to price merchants Smaller merchants are frequently
priced with a single discount rate based on merchant volume and average ticket size Acquiring
banks frequently use unbundled pricing for medium to large merchants Unbundied pricing is the
method of assigning fees for the cost of each service used. Examples of unbundled services
include interchange authorizations and charge-backs Other fees may include, but are not
limited to: statement preparation application customer service membership, maintenance and
penalty fees (for example for violating payment network ruies).

Examiners should evaluate the bank’s practices for ensuring that pricing is consistent With the
risk posed by the merchant Acquiring banks sometimes use a pricing model to determine the `
target discount rate They might maintain one or more pricing models with model usage driven
by the merchants sales volume and/or industry classification Pricing models allow the acquiring
bank to quickly substitute variables regarding sales volumes average ticket size revenues and
expenses to produce a projected profit margin A failure of the pricing model to include ali direct
and indirect expenses may render the modei's results meaningless A modei’s accuracy
depends upon the reasonableness of the assumptions used.

Pricing Components
Discount Rate:

Acquiring banks assign a discount rate for each merchant when the merchant agreement is
signed The discount rate is the percentage that gets “discounted" off the transaction amount
that is paid to the merchant hence the term discount rate in a simple case the discount
represents a single rate charged to a merchant based on the merchants sales volume For
example a merchant with a 2 percent discount rate receives $98 for a $100 credit card sale.
i\/iost merchant agreements allow the acquiring bank to change the discount rate for various cost
increases Numerous factors influence the discount rate charged including, but not limited to,
the transaction method processing volume and type of merchant business For example
merchants who use electronic data capture (EDC) are typically charged lower discount rates
than paper-based merchants Discount rates generally range from 1 to 4 percent for small to
medium-size merchants and sometimes weil below that range for large-volume merchants

When considering the range of discount rates used by the bank, examiners should call on
management to readily explain outiiers including those that are well below the normal range
Banks sometimes give merchants a favorable discount rate because of existing commercial loan

 

l\/larch 2007 FDlC- Division of Supervision and Consumer Protection 174

Merchant Processing

 

 

or deposit relationships in other cases the discount rate is favorable due to a credit card
equipment lease arrangement Packaging may be an acceptable practice but does not eliminate
the need to measure the overall profitability of a merchant relationship Further, examiner
attention should be drawn to situations in which management has offered favorable discount
rates to insiders or their related interests

lnterchange Fees:

interchange fees represent compensation paid by the acquiring bank to the issuing bank Thus
they are recorded as an expense on the acquiring bank’s income statement and as a revenue
source on the issuing bank’s income statement. interchange fees are based on several factors
such as volume size and type of transaction and are usually set by the Associations They
average less than two percent of the purchase price and are typically one of many considerations
in determining the size of the discount rate that the acquiring bank charges the merchants (For
on-us transactions interchange may be reduced if not entirely eliminated) A number of
merchants and merchant groups have filed lawsuits alleging that the interchange fees set by the
Associations for credit card transactions violate anti-trust laws and that the fees paid to accept
payment cards are too high. in last quarter of 2006 the Associations began offering pubic access
to interchange rate information

Processing Fees:

Processing fees cover the costs associated with data processing services and vary depending on
the size and number of transactions the merchant submits per batch. The processing fee may
include data capture and authorization costs it might go directly to the bank if it handles the
processing or to the bank’s third-party processor

/SO/MSP Fees:

The iSO/l\/iSP fee is the amount the acquiring bank pays the iSO/i\/iSP for services provided it is
negotiated and often represents a percentage of the volume that the iSO/l\/iSP-sponsored
merchants bring to the bank The fee agreement between the bank and the iSO/|\/lSP is normally
considered when pricing merchants obtained through an lSO/l\/iSP.

Agent Bank Commission:

The agent commission is a fee passed to the agent bank for signing a merchant This fee could
be built into the discount rate or be assessed separately

Other /ncome:

Acquiring banks sometimes offer other programs to generate fee income (for instance equipment
leasing). instances in which management has not researched the legal and compliance aspects
of products or services offered or has not priced the programs adequately warrant scrutiny

Monitoring Pricing

Examiners should evaluate management’s practices for ensuring that merchants are priced
appropriately throughout the life of the contract Best practices by management may include
verifying actual volumes and ticket sizes after signing a new merchant (for example at six
months into the reiationship) to ensure consistency with volumes and ticket sizes anticipated
Examiners should assess management’s practices for ensuring the discount rate is in line with
the application estimate and original pricing model assumptions in general, a failure by
management to review ali significant merchants for repricing at least annually elevates concern
Further, if any merchants are or have been unprofitable examiners should accordingly inspect
management’s repricing practices for those merchants i\/ierchant agreements typically allow

 

i\/larch 2007 FDiC - Division of Supervision and Consumer Protection 175

Risk Management Examination l\/ianuai for Credit Card Activities Chapter XiX

 

acquiring banks to increase pricing at any time during the contracts life
Profitabi/ity Ana/ysis

Merchant programs can be profitable Although competition with third-party processors has
lowered margins banks have been able to compete due to their strong marketplace presence
Banks are able to generate new merchant accounts through their branch networks and existing
customer relationships

i\/ierchant processing is characterized as a high transaction volume low profit margin business
Only efficiently run departments with strong cost controls can operate profitably Examiners
should analyze profitability reports used by the bank to measure the profitability of the merchant
processing operations to determine if it is consistent With the size and complexity of the
operations Reports should detail key performance measures such as net income to sales and
net income per item. ldealiy, it should be able to segment profitability by merchant acquisition
channel, and industry

Examiners should normally expect profitability analyses for merchant operations to be distinctly
separate from the analyses of other banking activities and to include all direct and indirect costs
Direct costs include costs such as those for internal data processing merchant accounting fraud
and charge-back losses personnei, and occupancy indirect costs may include corporate
overhead expenses such as those for human resources legai, and audit services The level of
detail and frequency of board reporting is contingent on the size of the operation in relation to the
overall operations of the bank and its capital base

FRAUD l\/iONiTORlNG

l\/ianagement’s ability to quickly detect fraudulent activity is important in controlling losses The
merchant then its acquiring bank are the parties liable for certain types of losses Persons
possessing stolen credit cards sometimes take advantage of unsuspecting store clerks or
merchants sometimes perpetrate fraud i\/ierchant fraud can be extremely costly if not discovered
quickly Examples of merchant fraud include factoring and draft laundering New merchant
accounts are particularly susceptible to fraud such as bust-out scams. Examiners should insist
that banks have a fraud detection system to identify and monitor potentially fraudulent activity.

Fraud Detection Methods

Fraud identification that relies exclusively on excess charge-back activity analysis is normally
cause for concern because there are a number of other indicators that can point to fraud A
primary tool used by management for fraud detection is an exception report that details variances
from a multitude of parameters established at account set-up. Aiong with charge-backs basic
parameters usually include daily sales volume average ticket size multiple purchases of the
same dollar amount, multiple use of the same cardholder number, percentage of keyed versus
swiped transactions (because keyed transactions frequently are associated with card-not-present
transactions which are normally higher-risk), number of authorizations declined authorizations
during non-business hours and high volume of authorizations in relation to transactions A daily
exception report lists merchants that are outside of any of the parameters

l\/lost large-volume processors have established exception parameters based on industry or
merchant type Examiners should review management’s practices for periodically updating
parameters For example management might set the daily sales threshold at a percent of a prior
timeframe's activity (for instance 110 percent of the three months’ average). The margin allows
for normal growth of the merchant and compensates for seasonal sales patterns

 

i\/iarch 2007 FDlC- Division of Supervision and Consumer Protection 176

l\/ierchant Processing

 

Some banks use neurai network technologies for fraud detection These complex computer
programs can compare each transaction against the merchants prior sales patterns Though
more sophisticated than a traditional exception report smaller merchant processors may be
unwilling or unable to purchase these technologies on an ongoing basis instead some acquiring
banks selectively route higher-risk transactions through a neurai network while confining the
remainder of transactions to exception reporting

Some banks also use informational databases (such as those for scoring bankruptcy trade and
fraud) to identify at-risk merchants i\/ierchants that have financial or legal difficulties often have a
higher propensity to falsify transactions

Associations provide educational materials to acquiring banks and merchants about the
industry’s latest fraud detection techniques They also prepare fraudulent activity reports for
each acquiring bank The reports are not intended to replace the bank's own fraud system.
Rather, examiners should expect to see that such reports supplement the internal system.
Certain circumstances require management to document its plan to correct a merchants
unacceptable sales practices

inactive merchant accounts can signal potential fraud For example inactivity could signal a
bust-out scam wherein a fraudulent merchant signs with several acquiring banks simultaneously
moving from one to the next as the scam is perpetrated or detected When exception reports flag
an inactive account, management normally follows up with the business owner

Other potential warning signs of fraud generally include:

o Evidence that credit card purchases have been intentionally structured by a
merchant to keep individual amounts below the "floor limit" to avoid approval
requirements

- lVierchant account activity that reflects a substantial increase in the number and/or
size of charge-backs

v l\/ierchant’s deposit of sales drafts made payable to a business or businesses other
than the business named on the account.

¢ i\/ierchant's frequent request that funds be wire transferred from the merchant
account to other institutions in other parts of the country or to offshore institutions
almost immediately after deposits are made.

¢ l\/ierchant that is engaged in telemarketing activities and is the subject of frequent
customer complaints

¢ l\/ierchant account deposits that appear to exceed the level of customer activity
observed at the merchants place of business

v l\/lerchant that has access to electronic data capture equipment but frequently inputs
credit card account numbers manually (for example if manually keyed transactions
exceed 10 percent of total transactions).

¢ i\/lerchant that has a sudden or unexplained increase in the level of authorization
requests from a particular merchant location

Fraud lnvestigations

Examiners must expect management to take swift action when it encounters suspicious
transactions or other suspicious activity. i\/ianagement’s investigation may include verifying
purchases with the issuing bank and/or obtaining copies of paper-based transaction tickets from
the merchant An acquiring bank’s quick response will help minimize losses to it and the issuer
as well as provide timely information to law enforcement agencies Changes in a merchants
business operations such as changes in ownership, business principals bank accounts
merchandise sales methods or target market normally also warrant an investigation

 

i\/larch 2007 FDiC - Division of Supervision and Consumer Protection 177

Risk Management Examination l\/ianuai for Credit Card Activities Chapter XiX

 

l\/lerchant agreements normally allow the acquiring bank to delay settlement until questionable
transactions are resolved Once fraud is suspected management must follow Suspicious Activity
Report (SAR) guidelines. Examiners should evaluate the bank’s processes for terminating
fraudulent merchant accounts and placing such merchants on l\/lATCH. They should also
consider the acquiring bank’s and its processor's practices for suspending or blocking settlement
and authorization processing to a terminated merchants account. Such procedures are intended
to prevent further deposits and account testing

CHARGE-BACK PROCESS|NG

Credit risk arising from charge-backs is an acquiring bank’s primary risk and can result in
significant financial loss if a merchant is unable to pay its charge-backs the acquiring bank
must pay the issuing bank Large charge-back losses can also result from deliberate fraud
undertaken by the merchant For example a merchant might sell deceptive or misleading
merchandise or never deliver the product Authorization issues inaccurate or incomplete
transaction information and processing errors can also result in charge-backs Charge-backs
are governed by a complex set of rules and time limits that can be costly to merchants and
acquiring banks if disregarded Charge-back losses realized by the bank are listed as other non-
interest expense on the Caii Report

The most effective preventive measure against charge-back losses is thorough underwriting prior
to merchant acceptance Nonetheless examiners should expect that an acquiring bank have
strong controls in place to accurately and timely process charge-backs and retrieval requests
The bank may lose a charge-back dispute (thus resulting in a loss) if it does not adhere to
charge-back rules The absence of effective charge-back monitoring to identify problem
merchants for remedial action normally draws examiner attention Quickly considering problem
merchants for termination may help avoid or limit loss

Charge-Back Transaction Flow

Cardholders initiate charge-backs for instance When they are dissatisfied With the product did
not receive the merchandise or service or did not authorize the charge A consumer first tries to
resolve the dispute With the merchant if unsuccessfui, the consumer informs the issuing bank
about the dispute and the issuing bank posts a temporary credit to the cardholder’s account.
The issuing bank then requests documentation from the merchant to authenticate the transaction
and possibly resolve the dispute if the dispute is upheld the amount is charged back to the
merchants account and the consumer does not pay for the disputed charge The consumer has
60 days from the day he or she receives the statement to report a dispute to the issuing bank

issuing banks can also initiate charge-backs When the merchant does not follow proper card
acceptance and authorization procedures or When there is a problem With the credit card account
(for example it is not valid or has been terminated). The acquiring bank's contingent charge-
back liability generally spans 90 to 120 days (but up to 180 days for certain transactions).

Associations have strict charge-back processing regulations For example charge-backs occur
When a merchant fails to provide copies of requested sales tickets if the merchant does not fulfill
retrieval requests Within prescribed time frames it loses the charge-back dispute l\/lerchants
must also follow other card acceptance procedures, including obtaining authorizations as
depicted in the governing documents

Charge-Back Monitoring
The Associations notify acquiring banks about high charge-back merchants Once management

has received notification of excessive charge-back activityl examiners should expect
management to promptly take appropriate steps to bring charge-back rates down to acceptable

 

i\/iarch 2007 FDlC- Division of Supervision and Consumer Protection 178

l\/ierchant Processing

 

levels The steps may include but are not limited to, reviewing procedures with merchants or
developing a detailed and comprehensive charge-back reduction plan lf the charge-back
volume is not sufficiently reduced within established timeframes the Associations may impose
substantial fines against the acquiring bank

Aithough the Associations notify acquiring banks about merchants with excessive levels of
charge-backs examiners normally have concern when an acquiring bank’s own risk
management practices do not detect such merchants or when charge-back processing staff is not
alert for merchants with excessive retrieval requests or charge-backs Numerous charge-backs
could indicate an unscrupulous merchant or a need for additional training

Risk Mitigation for Charge-Backs

Acquiring banks often establish specific merchant reserve accounts or holdback reserves for
higher-risk or high-charge-back merchants Hoidback reserves are also used to limit a bank’s
credit risk when the merchants product or service involves future/delayed delivery They are
funded by a lump sum payment or by withholding part of each day's proceeds Examiner should
expect these types of specific reserve accounts to be adequately funded

The acquiring bank might also fund a general allowance account similar to the ALLL (although
not commingled therewith), for a portfolio of merchant accounts. The method used to determine
the allowance allocation varies but is typically based on contingent charge-back exposure for the
entire portfolio. Such an allowance is reported as an “other liability.” Examiners should analyze
management’s merchant reserving methods to determine whether these types of allowances are
sufficiently funded

An acquiring bank might also obtain merchant charge-back insurance which is intended to
provide protection against uncollectible charge-backs While insurance products potentially
provide some level of protection, they are not a substitute for strong risk management practices
insurance contracts frequently include significant limitations or restricting clauses that constrain
the usefulness of the contract in the event of an actual loss (for instance limits on types of losses
covered and restrictions based upon bank management's action or inaction in managing the
merchant portfolio). in addition, the insurance carrier might not have the financial ability to fund
the contract in the event of significant loss

Larger merchant processors employ collectors to recover charge-back losses and other fees A
collector seeks remedy from the principals of the business through negotiations or civil action.

Accounting for Charge-Backs

i\/ianagement is expected to appropriately detail charge-back losses on Caii Reports as other
non-interest expense and reverse any uncollectible fees from income in a timely manner Any
collected funds are to be reported as other non-interest income

ACQUIR|NG RENT-A-BINS

A BlN18 is a number assigned by an Association to identify the bank for authorization clearing
settlement card issuing or other processes Ownership and usage of Ble can result in
significant credit risk exposure if not appropriately controlled especially when the acquiring bank
owns a BlN and permits other entities to share in the usage otherwise known as an acquiring
Rent-a-BIN. The concept of Rent-a-BiNs (RAB) Was introduced earlier in this manual There are

 

13 An lCA number, Which is similar to a Visa BiN, is assigned by l\/lasterCard. lCAs and Ble are collectively referred to
as Ble in this manual Examiners may also encounter arrangements with American Express and Discover, particularly
now that their access to banks has expanded

 

l\/larch 2007 FDiC - Division of Supervision and Consumer Protection 179

Risk l\/lanagement Examination i\/lanual for Credit Card Activities Chapter XiX

 

issuing RABs and acquiring RABs. issuing RABs Were the focus of the Credit Card issuing Rent-
a-Ble chapter While acquiring RABs are discussed here

Acquiring RABs draw their names from the characteristic of acquiring merchant contracts and
cardholder transactions Under an acquiring RAB arrangement, an acquiring bank permits
iSO/l\/lSPs to use the bank’s BiN(s) to acquire merchants and settle their credit card transactions
The lSO/i\/lSP retains the majority of income and the BlN-owner receives a fee for the use of its
BlN(s). /-\lthough it has minimal operational involvement the BlN-owner has primary
responsibility to the Association if any user fails to perform. The BlN-owner retains the risk of
loss as Well as responsibility for settlement with the Associations consistent with the contract
between the bank and the Association. Thus examiners should insist that management
rigorously oversee and control acquiring RAB arrangements to ensure that the iSO/i\/iSP is
appropriately managing the risks Oversight controls are important even if the iSO/i\/iSP shares
liability with the bank A failure by management to consider any lending relationships the bank
has With lSO/i\/lSPs in analyzing total risk exposure warrants examiner attention Given the
substantial risk involved many banks are reluctant to enter into acquiring RAB arrangements

Risk also exists When an acquiring bank uses a BlN owned by another bank if the BlN-owning
bank fails to perform, the Associations may hold all of the BlN-users liable RABs require close
examiner analysis of the acquiring bank’s program to determine the extent of risk to the bank

TH|RD P/-\RT|ES

The success of a payment system depends on the credit quality of its participants and its
operational reliability As mentioned the presence of third parties coupled with the bank’s ability
to sub-license the entire merchant program, or part thereof, to other entities introduces
numerous complexities in the transaction and funds flows related to credit card transactions
Third parties such as iSO/i\/lSPs and servicers are used by acquiring banks for a variety of
functions like soliciting merchants merchant application processing, charge-back processing,
fraud detection customer service accounting services selling/leasing electronic terminals to
merchants transaction processing authorizations and data capture Each acquiring bank’s
program is unique regarding the number of third parties used and the services provided
Examiners should require that banks have proper risk management policies and procedures to
control the applicable third-party risks

An acquiring bank, as the Association member1 is ultimately responsible for the settlement of
transactions processed through its BiNs regardless of the third parties used and the contents of
its contracts with those parties The acquiring bank (BiN-owner) needs to take an active role in
ensuring the quality and integrity of the services these third parties provide because the quality of
services among third parties varies greatly Examiners should pay close attention to instances in
which the bank relies on the guarantee of a third party against losses as a substitute for prudent
risk management Losses associated With high-risk or fraudulent credit card activity can be
substantial and easily reach figures well beyond the means of a seemingly financially capable
third party. Banks have incurred significant losses from failing to control third-party activities
Uncontroiied growth, fraud, and inadequate operations by the third parties have ali resulted in
significant problems for banks iSO/|\/iSPs in particular could be motivated by their own profits at
the expense of merchant portfolio quality and often have limited financial capacity

Regardiess of the third parties used and any guarantees provided the examination approach
requires that bank staff have the expertise and knowledge of the business to properly manage
the risks and that management have a sound plan for managing its merchant program as Well as
policies and procedures in place to control the risks associated with using third parties and to
properly limit the use of the bank’s Ble by others For instance the final review of merchant
applications and the decision to approve or decline a new account should be controlled by the
BlN-owner

 

lVlarch 2007 FDiC- Division of Supervision and Consumer Protection 180

l\/|erchant Processing

 

The examination should verify that the bank’s policies and procedures, in general, provide for:

A due diligence process to: determine the third party's character and ability to
perform the services assess the risks associated with using the third party; and
establish risk controls

A process for ensuring the adequacy of Written agreements

A monitoring process for the third party's operations and financial condition

Examiners should look for evidence that due diligence processes in general, include:

Determining that the third party has the operational and financial ability as Well as
expertise to perform the services

Performing thorough background checks on the third party's principals and key
individuals to determine their good standing including bank and trade references
credit reports, and, where appropriate, criminal backgrounds

Anaiyzing the financial capacity of the third party and its principals to determine
continued viability and capacity to absorb losses

Performing an on-site inspection

Assessing the third party’s marketing practices and the types of merchants targeted
Assessing the risks associated with the use of the third party and the controls
needed to manage the risk (for example underwriting standards security of sensitive
information reporting requirements and procedures for settlement, charge-back
processing, fraud monitoring and pricing).

Estabiishing criteria for requiring additional loss controls, such as reserves or security
deposits to absorb losses stemming from merchant fraud and charge-backs.
Ensuring separation of duties for activities performed (for example the individual
conducting the on-site inspection should have no financial interest in its outcome).
Registering third parties with Associations as required

The examination should also include assessing whether the bank’s monitoring process in
general, includes

Periodicaliy reviewing the financial condition of third parties and their principals to
determine capacity to meet commitments and remain in good standing

Reviewing allowances to ensure they are consistent with the condition of the third
party and volume of business generated

Reviewing compliance with the bank’s established requirements (for example
underwriting standards settlement and charge-back processing fraud monitoring
merchant pricing and security of cardholder information).

Periodicaliy conducting on-site inspections

Periodicaliy evaluating the third party's internal controls (for example through review
of operational audits).

Assessing system audits for third parties performing processing tasks

Periodicaliy reviewing marketing practices

Reviewing contingency plans to assure continuity of operations

Documenting the bani<‘s relationship with the third party.

Checking compliance with contractual provisions

Determining the adequacy of the bank’s controls over third party access to sensitive
information

 

l\/larch 2007 FDiC - Division of Supervision and Consumer Protection 181

Risk Management Examination l\/ianuai for Credit Card Activities Chapter XiX

 

 

Contractual Considerations

Concerns arise when management has not obtained a signed written agreement between it and
each third party or when the agreement fails to take into consideration business requirements
key risk factors identified during the clue diligence process and the Associations’ regulations
Legal counsel familiar with merchant processing normally reviews contracts prior to signing

Contractual considerations generally include:

o Responsibilities of each party.

0 Terms specifying compensation payment arrangements price changes and time
frames.

o Provisions prohibiting the third party from assigning the agreement to any other
party.

¢ Frequency and means of communication and monitoring activities of each party.
Provisions regarding the ownership, confidentiality and non-disclosure of cardholder
information as well as compliance with cardholder information security standards
Recordkeeping requirements and whether each party has access to these records
Responsibility for audits, the bank's access to those audits and whether the
acquiring bank has the right to perform an audit of the third party.

~ Notification requirements of system changes that could affect procedures and
reports
Type and frequency of financial information the third party will provide
Termination parameters including potential penalty provisions
i\/laintenance of an adequate contingency plan by the third party.

Additionai contractual considerations for iSO/i\/iSPs generally include:

v Tying compensation to the merchant portfolio’s performance (for instance charge-
back activity).

¢ Defining responsibilities for fraud and charge-back processing and losses

o Requiring security deposits from the lSO/l\/lSP, particularly if its financial condition is
Weak or the quality of the merchants it solicits presents significant risk

~ Estabiishing remedies to protect the bank if the iSO/i\/iSP fails to perform (for

example indemnity provisions early termination rights, and delayed payment).

Providing criteria for acceptability of merchants

Specifying that the bank owns the merchant relationships

Contro|ling the future use and solicitation of merchants

Defining the allowable use of the name and logo of the bank and the lSO/i\/lSP.

Permitting bank employees to conduct onsite inspections of the lSO/l\/lSP.

Specifying that ali applicable regulations and Association rules are to be followed

..CGOO

Association Requirements Regarding Third Parties

The bank’s risk management program needs to consider the Associations’ requirements
regarding third parties Each acquiring bank is expected to register third parties according to the
Associations’ guidelines before accepting services Associations generally require an initial
registration fee and annual fees for each third party under contract The fees are normally
passed on to the third party.

The Associations have specific guidelines relating to contract provisions functions controlled by
the acquiring bank, accessibility of procedural audits, and recordkeeping requirements in
particular, Association regulations state that:

 

i\/iarch 2007 FDiC- Division of Supervision and Consumer Protection 182

l\/ierchant Processing

 

o Aii new merchant accounts should be reviewed with final approval controlled by the
acquiring bank

v A registered third party cannot subcontract its bankcard-related services to another
business Bankcard-reiated services can only be provided by businesses with a
direct written contract with an Association member

e Aii aspects of a member's relationship with a third party should be documented

¢ l\/iembers are responsible for ensuring that merchants receive payment for the card
transactions deposited

Even after registration the acquiring bank remains responsible for ensuring compliance with the
Associations’ operating regulations The regulations make the acquiring bank liable to the
Associations for the actions of third parties Banks are to periodically submit certain information
on third parties used to the Associations and can be fined by the Associations for not doing so.

Agent Banks

Agent banks contract With merchants on behalf of an acquiring bank Agent banks are typically
community banks that want to offer merchant processing services to their merchant customers
but that do not have the management expertise and/or do not want to invest in the infrastructure
needed to serve as an acquiring bank Acquiring banks generally provide backroom operations
to the agent bank Depending upon the contractual arrangement the agent bank may or may not
be liable to the acquiring bank in the event of charge-back or fraud losses Agent banks with
liability typically perform merchant underwriting Agent banks Without liability are typically called
referral banks in a referral arrangement, the acquiring bank performs the underwriting executes
the merchant agreement and accepts responsibility for merchant losses Acquiring banks
sometimes compensate the referral bank byway of a referral fee.

if examining an agent bank, examiners should determine whether management fully understands
the bank’s financial liability for charge-backs as Well as its responsibilities under the agreement
with the acquiring bank An agent bank should have appropriate procedures in place to ensure it
fulfills its obligations under such agreement Examiners should expect that agent banks With
liability have proper risk management policies and controls in place for merchant underwriting
and monitoring pricing and profitability and third-party relationships

Examiners should determine whether management of an agent bank has ensured underwriting
guidelines meet the acquiring bank's underwriting standards at a minimum, and represent an
appropriate level of risk for the agent bank to hold Acquiring banks may decline a merchant if it
poses undue risk or does not meet the bank’s minimum standards Other agent bank tasks
include performing ongoing monitoring of sales charge-backs and fraud

Examiners should look for evidence that pricing of agent relationships is sufficient to cover costs
including any fees paid to the acquiring bank and anticipated losses Depending on the size of
the agent bank’s merchant portfolio, separate profitability reports on this business line may not be
necessary Butl that does not negate management’s responsibility to determine if the service is
profitable to the bank if profits are minimal or nonexistent considerations would include Whether
the risk is sufficiently offset by the intangible benefits gained from offering the services

Examiners should expect to see a Written agreement clearly outlines both agent and acquiring
banks’ responsibilities They should also determine whether the agent bank has performed
appropriate due diligence regarding the acquiring bank's ability to meet its obligations under the
contract and, similarly whether acquiring banks have put appropriate controls in place regarding
the use of agent banks Examiners should evaluate controls for maintaining appropriate
underwriting standards and processing volumes and for monitoring the agents financial condition
and processing volume instances in which the financial condition is not consistent with its
merchant portfolio risk profile and/or the activity's volume normally raise concern

 

l\/larch 2007 FDiC - Division of Supervision and Consumer Protection 183

Risk Management Examination l\/ianuai for Credit Card Activities Chapter XiX

 

Loans to Third-Party Organizations

Examiners should pay attention to situations in Which management has failed to fully understand
the total risk exposure when lending to third parties that perform services for the bank, including
for its merchant program. The lending relationship creates a potential conflict of interest and
increases the bank’s overall credit risk The risk exposure is not only the ioan(s) to the third-party
but also the contingent liability from merchant processing activities by the third party conducted
through the bank’s BlN. Lending to a third-party organization sometimes results in management
failing to take appropriate action against the third party when problems are identified For
example management may not want to stop processing for the lSO/l\/lSP because it may
jeopardize repayment of the bank’s loan As a result management could continue with a
problem relationship, Which may increase the problems and subsequent losses Examiners
should evaluate management's processes to determine and control total risk exposure

Contingency Planning

Concerns also surface when acquiring banks have not ensured that third-party processors and
network providers have contingency plans in place to continue operations in the event of a
disaster if an iSO/l\/iSP is providing the backroom operations examiners should confirm
whether management has ensured that the lSO/i\/iSP has a proper contingency plan The
examiner should determine management’s practices for requesting and reviewing contingency
plans Further, the merchant processing examination should include lT examiners to the extent
needed to review the adequacy of the contingency plan as weil as the bank’s in-house data
processing systems for merchant processing

Cardho/der lnformation

Cases Where disclosure of cardholder information is not in accordance With privacy regulations
and the Associations’ guidelines Warrant scrutiny inappropriate disclosure to third parties could
result in substantial liability to the bank, especially if the third party perpetrates fraud

Association regulations prohibit an acquiring bank from disclosing cardholder and transaction
information to third parties, other than to its agents for the sole purpose of completing a
transaction Without the prior Written consent of the cardholder’s issuing bank and the
Association. The Associations’ regulations also state that if an acquiring bank discloses the
information the acquiring bank must ensure that its agents and their employees make no further
disclosure and treat the information as confidential

The emphasis of the privacy regulations is on providing customers a notice of the bank’s
disclosure practices and an opportunity to opt out of the disclosure The regulations also prohibit
the disclosure of certain cardholder information for marketing purposes with certain exceptions

CORRSEPONDENCE W|TH THE ASSOC|ATIONS

Correspondence between Associations and acquiring banks can point to potential problems with
a particular merchant third-party arrangement or a significant portion of the acquiring bank's
merchant portfolio. Of particular concern are acquiring banks that have been required to post
collateral to the Associations that have had limits placed on their activity, or that have been fined
Associations typically take these actions when the acquiring bank has excessive levels of risk in
the merchant portfolio. Topics of correspondence include but are not limited to:

Periodic reviews performed on the acquiring bank by an Association.
High-risk merchants

Terminated merchants

Excessive volumes of charge-backs at the merchant and bank portfolio levels

 

l\/larch 2007 FDIC- Division of Supervision and Consumer Protection 184

i\/lerchant Processing

 

 

Fraud or other suspect activity at both portfolio levels

Risk limits on activity, or collateral requirements imposed on the acquiring bank due
to the level of risk in the acquiring bank's portfolio.

Capital requirements

Third party usage

Examiners should closely review correspondence between the bank and the Associations
Banks should also have the applicable Association's by-iaws regulations/rules and other
guidance on hand for review if necessary

SUl\/|i\/|ARY OF EXA|\/iiNAT|ON GOALS - l\/|ERCHANT PROCESS|NG

Examiners are expected to determine the level of risk posed by the bank’s merchant processing
activities as well as determine Whether management has correctly identified and is sufficiently
controlling those risks with a comprehensive risk management program. in general, the
examiner's role includes

Reviewing the bank’s strategic plan to determine how (and if) merchant processing
fits into the bank’s objectives.

Evaiuating the bank’s merchant processing policies, including, but not necessarily
limited to, those covering merchant selection underwriting and monitoring
Reviewing correspondence between the bank and the Associations regarding the
bank’s merchant processing activities

Determining the quality of the bank’s merchant portfolio, including the identification
of any high-risk merchants

Sampiing recently approved (such as within the last 90 days) merchant files
identifying the volume of merchant processing transactions comparing that volume
to the bank’s capital ievei, and determining if additional capital support is necessary
Reviewing the trends in the volume and aging of charge-backs and determining
What charge-back losses the bank has suffered

Gauging management’s ongoing review processes for merchant accounts.
Evaiuating acquiring Rent-a-BiN activities

Assessing agent-bank programs and determining level of liability under such
programs

Anaiyzing pricing practices and models as well as profitability of the merchant
program. Aiso, considering whether merchant relationships are profitable and
investigating as necessary (for example if a significant relationship is not profitable).
Reviewing budgeting and forecasting processes for merchant processing activities
including assumptions used

Reviewing the settlement flow chart and the bank’s practices for paying merchants
identifying what third parties the bank uses for its merchant activities and reviewing
controls over third-party risks The analysis should include reviewing governing
contracts or agreements for significant relationships

Assessing the adequacy of holdbacks or other merchant reserves

inspecting contingency plans calling on iT specialists as necessary

Reviewing routine i\/iiS for the merchant processing program.

Assessing whether management possess the necessary skill-sets to properly
management the program.

Reviewing fraud detection procedures

Reviewing merchant program sections of internal and external audit reports
Determining whether any planned changes exist for the merchant operation if
changes are planned identify how the changes may impact the bank, specifically as
related to higher risks that the bank may be taking on

 

i\/larch 2007 FDiC - Division of Supervision and Consumer Protection 185

